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EXHIBIT 3



Claim Chart U.S. Patent No. 11,196,566 (the “’566 Patent”) Coinbase
Claim 1                                Coinbase Products & Services
                                       Payment of block rewards to new Validator Nodes under Proof of
                                       Stake
A computing device for processing a    The Computing Device | Facilitator includes:
transaction between a first client          • the Coinbase (Owned, managed) Ethereum Validator Full
device, and a second client device via          Nodes; and
a transfer mechanism, the transfer          • the Coinbase (Owned, managed) Ethereum supporting
mechanism comprising a decentralized            Archive Nodes and Light Nodes; and
digital currency, the computing device
comprising:                            Client Device
                                       The First Client is an active Coinbase (Owned, managed) Ethereum
                                       Validator Full Nodes. The Computing Device and the First Client are
                                       the same device.
                                       The Second Client is a prospective Validator Node, which will include
                                       any prospective Coinbase (Owned, managed) Ethereum Validator
                                       Nodes.


                                       The Coinbase (Owned, managed) Ethereum Validator Nodes facilitates
                                       value transfer to newly activated Validator Nodes (as Second Client)
                                       based on work performed in producing blocks securely. The Beacon
                                       Chain upgrade brings proof-of-stake consensus to Ethereum. For this,
                                       active participants - known as validators – are required to propose,
                                       verify, and vouch for the validity of blocks.


                                       The Patent allows for, and the Claims do not prevent, the Computing
                                       Device from being, or including, the First Client or Second Client. This
                                       is detailed in the Patent description [0055].


                                       FIG. 1 (see Figure 16) depicts a typical embodiment for practicing the
                                       invention—especially for use with a distributed transfer mechanism—
                                       where the clients, transfer mechanism, facilitator, and data source are
                                       distinct participants. However, the depicted arrangement is not the only
                                       one contemplated by the invention. In an alternate embodiment, the
                                       facilitator provides some or all aspects of the transfer mechanism. In
                                       another embodiment, the facilitator comprises some or all aspects of a
                                       client. For example, part or all of a client's data store, the ability to
                                       initiate or accept offers, etc., could be “embedded” in the facilitator,
                                       thereby enabling the facilitator to operate as a client itself (e.g., one
                                       controlled by the owners of the facilitator, or on behalf of a third party
                                       who has entrusted control to the facilitator). In yet another
                                       embodiment, the facilitator comprises the data source. Many
                                       configurations are contemplated by the invention are possible, and will
                                       become apparent to one skilled in the art.




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 •   a memory for storing a first      The First Client is an active Coinbase (Owned, managed) Ethereum
     asymmetric key pair, the first    Validator Full Nodes. The Computing Device and the First Client are
     asymmetric key pair comprising    the same device.
     a first private key and a first   These consist of a computer hardware/software combination to run,
     public key;                       namely:
                                           •    Memory (RAM), used in the computing device (such as a
                                                computer, server or server cloud instance).
                                           •    Transaction record sector (stores transactions and data that
                                                haven't been submitted to the blockchain yet)
                                           •    a first key pair sector which is generated and stored on the
                                                device (typically)
                                           •    The asymmetric key pair generated and/or stored consists of
                                                a first private key and a first public key and is stored on the
                                                device (typically)


                                       Recommended hardware requirements for running a node.
                                       https://launchpad.ethereum.org/en/checklist


                                       A description of the Validator Node’s keys is described in the following
                                       link.
                                       https://kb.beaconcha.in/ethereum-2-keys


                                       The validator signing key consists of two elements:
                                           1.   Validator private key
                                           2.   Validator public key
                                       The purpose of the validator private key is to actively sign on-chain
                                       (ETH2) operations such as block proposals and attestations. Therefore,
                                       these keys have to be held in a hot wallet.


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                                         Example Validator Client (Prysmatic) installation guide shows key
                                         management.
                                         https://docs.prylabs.network/docs/install/install-with-script/


 •   a network interface for             The First Client is an active Coinbase (Owned, managed) Ethereum
     receiving terms, the terms          Validator Full Nodes. The Computing Device and the First Client are
     comprising:                         the same device.
                                         The Ethereum Network requires network connectivity in order to
                                         achieve PoS consensus.
                                         https://launchpad.ethereum.org/en/checklist
                                         https://github.com/ethereum/consensus-
                                         specs/blob/dev/specs/phase0/validator.md#block-proposal
                                         https://github.com/ethereum/consensus-
                                         specs/blob/dev/specs/phase0/validator.md#attesting
                                         https://github.com/ethereum/consensus-
                                         specs/blob/dev/specs/phase0/validator.md#broadcast-attestation
                                         https://github.com/ethereum/consensus-
                                         specs/blob/dev/specs/phase0/validator.md#broadcast-aggregate


 o   at least one of a first principal   First principle data
     data or a second principal          The initial deposit staking amount to participate as an Eth2 Validator in
     data;                               the Ethereum Network.

                                         The Beacon Chain upgrade brings proof-of-stake consensus to
                                         Ethereum. For this, we need active participants - known as validators -
                                         to propose, verify, and vouch for the validity of blocks. In exchange,
                                         honest validators receive financial rewards. Importantly, as a validator
                                         you'll need to post ETH as collateral - in other words, have some funds
                                         at stake. The only way to become a validator is to make a one-way ETH
                                         transaction to the deposit contract on the current Ethereum chain.

                                         https://launchpad.ethereum.org/en/overview

                                         https://github.com/ethereum/consensus-
                                         specs/blob/dev/specs/phase0/beacon-chain.md#deposits

 o   a reference to at least one of a    First data source
     first data source or a second       The Beacon Chain reward and penalty algorithm.
     data source; and
                                         https://consensys.net/blog/codefi/rewards-and-penalties-on-ethereum-
                                         20-phase-0/

                                         https://kb.beaconcha.in/rewards-and-penalties#block-reward

                                         https://github.com/ethereum/consensus-
                                         specs/blob/dev/specs/phase0/beacon-chain.md#attestations

 o   an expiration timestamp;            At the beginning of each epoch (every 32 slots, except GENESIS),
                                         several things happen, including

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                                            •    Justification and finalization of the chain
                                            •    Assignment of rewards and penalties to attesters
                                            •    Update of the validator registry
                                            •    The special slashing penalty (see above), and
                                            •    Some final updates (computing effective balances, resets, etc)

                                         https://consensys.net/blog/codefi/rewards-and-penalties-on-ethereum-
                                         20-phase-0/

                                         https://github.com/ethereum/consensus-
                                         specs/blob/dev/specs/phase0/beacon-chain.md#epoch-processing

 •       a computer processor coupled    The First Client is an active Coinbase (Owned, managed) Ethereum
         to the memory and the network   Validator Full Nodes. The Computing Device and the First Client are
         interface, the computer         the same device.
         processor configured to:        These consist of a computer hardware/software combination to run.

     •      read the first private key   The active Coinbase (Owned, managed) Ethereum Validator Full
            from the memory;             Nodes is expected to propose a SignedBeaconBlock at the beginning of
                                         any slot during which is_proposer(state, validator_index) returns True.
                                         To propose, the validator selects the BeaconBlock, parent, that in their
                                         view of the fork choice is the head of the chain during slot - 1. The
                                         validator creates, signs, and broadcasts a block that is a child of parent
                                         that satisfies a valid beacon chain state transition.

                                         https://github.com/ethereum/consensus-
                                         specs/blob/dev/specs/phase0/validator.md#block-proposal

                                         Preparing for a BeaconBlock
                                         To construct a BeaconBlockBody, a block (BeaconBlock) is defined
                                         with the necessary context for a block proposal:

                                         Slot
                                         Set block.slot = slot where slot is the current slot at which the validator
                                         has been selected to propose. The parent selected must satisfy that
                                         parent.slot < block.slot.
                                         Note: There might be "skipped" slots between the parent and block.
                                         These skipped slots are processed in the state transition function
                                         without per-block processing.

                                         Proposer index
                                         Set block.proposer_index = validator_index where validator_index is
                                         the validator chosen to propose at this slot. The private key mapping to
                                         state.validators[validator_index].pubkey is used to sign the block.

                                         BLS public key
                                         Validator public keys are G1 points on the BLS12-381 curve. A private
                                         key, privkey, must be securely generated along with the resultant
                                         pubkey. This privkey must be "hot", that is, constantly available to sign
                                         data throughout the lifetime of the validator.



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                                            https://github.com/ethereum/consensus-
                                            specs/blob/dev/specs/phase0/validator.md#bls-public-key

 •       compute a first cryptographic      The active Coinbase (Owned, managed) Ethereum Validator Full
         signature from the first private   Nodes is expected to propose a SignedBeaconBlock at the beginning of
         key;                               any slot during which is_proposer(state, validator_index) returns True.
                                            To propose, the validator selects the BeaconBlock, parent, that in their
                                            view of the fork choice is the head of the chain during slot - 1. The
                                            validator creates, signs, and broadcasts a block that is a child of parent
                                            that satisfies a valid beacon chain state transition.

                                            https://github.com/ethereum/consensus-
                                            specs/blob/dev/specs/phase0/validator.md#block-proposal

                                            Preparing for a BeaconBlock
                                            To construct a BeaconBlockBody, a block (BeaconBlock) is defined
                                            with the necessary context for a block proposal:

                                            Slot
                                            Set block.slot = slot where slot is the current slot at which the validator
                                            has been selected to propose. The parent selected must satisfy that
                                            parent.slot < block.slot.
                                            Note: There might be "skipped" slots between the parent and block.
                                            These skipped slots are processed in the state transition function
                                            without per-block processing.

                                            Proposer index
                                            Set block.proposer_index = validator_index where validator_index is
                                            the validator chosen to propose at this slot. The private key mapping to
                                            state.validators[validator_index].pubkey is used to sign the block.




 •       create an inchoate data record     The SignedBeaconBlock, as produced by the Validator (as the block
         comprising:                        producer), containing the deposit of a prospective Validator that is yet
                                            to be added to the list of registered Validators.

     •      a commit input for receiving    The 32ETH deposit stake to instantiate an Eth2 Validator.
            a commit data from a
            commit transaction;

     •      one or more output data         The prospective Validator’s reward or penalty. This is implied as these
            obtained from at least one of   are rules of the network.
            the first principal data or
            the second principal data,      The Beacon Chain reward and penalty algorithm uses predefined values
            and a value data from at        and formulas, along with the effective staking balance of the
            least one of the first data     participating nodes to calculate the reward or penalty for the Validators.


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            source or the second data          https://consensys.net/blog/codefi/rewards-and-penalties-on-ethereum-
            source; and                        20-phase-0/

                                               https://kb.beaconcha.in/rewards-and-penalties#block-reward

                                               https://github.com/ethereum/consensus-
                                               specs/blob/dev/specs/phase0/beacon-chain.md#attestations

     •      the first cryptographic            The Validator (as the block producer) is expected to propose a
            signature; and                     SignedBeaconBlock at the beginning of any slot during which
                                               is_proposer(state, validator_index) returns True. To propose, the
                                               validator selects the BeaconBlock, parent, that in their view of the fork
                                               choice is the head of the chain during slot - 1. The validator creates,
                                               signs, and broadcasts a block that is a child of parent that satisfies a
                                               valid beacon chain state transition.

                                               https://github.com/ethereum/consensus-
                                               specs/blob/dev/specs/phase0/validator.md#block-proposal




                                               Note that the signed block includes the Eth1 data containing the 32ETH
                                               deposit stake to instantiate a Validator.

                                               Eth1 Data
                                               The block.body.eth1_data field is for block proposers to vote on recent
                                               Eth1 data. This recent data contains an Eth1 block hash as well as the
                                               associated deposit root (as calculated by the get_deposit_root() method
                                               of the deposit contract) and deposit count after execution of the
                                               corresponding Eth1 block. If over half of the block proposers in the
                                               current Eth1 voting period vote for the same eth1_data then
                                               state.eth1_data updates immediately allowing new deposits to be
                                               processed. Each deposit in block.body.deposits must verify against
                                               state.eth1_data.eth1_deposit_root.

                                               https://github.com/ethereum/consensus-
                                               specs/blob/dev/specs/phase0/validator.md#eth1-data

 •       publish the inchoate data             As the Computing Device and the First Client are the same device
         record to at least one of the first   (Coinbase (Owned, managed) Ethereum Validator Node), the inchoate
         client device or the second           data record is already known by the First Client. As such the inchoate
         client device,                        data record is considered to be published to the First Client on creation
                                               of the inchoate data record by the Validator Node.

                                               A validator is expected to propose a SignedBeaconBlock at the
                                               beginning of any slot during which is_proposer(state, validator_index)
                                               returns True. To propose, the validator selects the BeaconBlock,
                                               parent, that in their view of the fork choice is the head of the chain


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                                             during slot - 1. The validator creates, signs, and broadcasts a block
                                             that is a child of parent that satisfies a valid beacon chain state
                                             transition.

                                             https://github.com/ethereum/consensus-
                                             specs/blob/dev/specs/phase0/validator.md#block-proposal

wherein the decentralized digital            Ether is used as the decentralised currency. The Ethereum network
currency comprises a distributed             maintains a distributed ledger without the need for a trusted central
ledger that enables processing the           authority.
transaction between the first client
device and the second client device
without the need for a trusted central       From the Ethereum yellow paper.
authority,                                   2.1. Value. In order to incentivise computation within the network,
                                             there needs to be an agreed method for transmitting value. To address
                                             this issue, Ethereum has an intrinsic currency, Ether, known also as
                                             ETH and sometimes referred to by the Old English ¯D.


                                             https://ethereum.github.io/yellowpaper/paper.pdf


wherein at least one of the first client     As the Computing Device and the First Client are the same device
device or the second client device           (Coinbase (Owned, managed) Ethereum Validator Node), the inchoate
signs the inchoate data record and           data record is already signed by the First Client. The signed inchoate
saves a copy of the inchoate data            data record (as a complete data record) is broadcast and recorded on the
record on at least one of the first client   Ethereum Network.
device or the second client device; and
                                             A validator is expected to propose a SignedBeaconBlock at the
                                             beginning of any slot during which is_proposer(state, validator_index)
                                             returns True. To propose, the validator selects the BeaconBlock,
                                             parent, that in their view of the fork choice is the head of the chain
                                             during slot - 1. The validator creates, signs, and broadcasts a block
                                             that is a child of parent that satisfies a valid beacon chain state
                                             transition.

                                             https://github.com/ethereum/consensus-
                                             specs/blob/dev/specs/phase0/validator.md#block-proposal


wherein the inchoate data record is          As the Computing Device and the First Client are the same device
used by at least one of the first client     (Coinbase (Owned, managed) Ethereum Validator Node), the inchoate
device or the second client device to        data record is already signed by the First Client. The signed inchoate
create a complete data record and to         data record (as a complete data record) is broadcast and recorded on the
create the transaction by broadcasting       Ethereum Network.
the complete data record for
transmitting and receiving among             The SignedBeaconBlock, in order to achieve consensus, is required to
network participants in the computer         be signed by the Ethereum Network as the First Client (the Eth2
network for recording in the                 Validators) as either the Block Producer, Attester or Aggregator’s.
distributed ledger,
                                             Proposer index



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                            Set block.proposer_index = validator_index where validator_index is
                            the validator chosen to propose at this slot. The private key mapping to
                            state.validators[validator_index].pubkey is used to sign the block.
                            https://github.com/ethereum/consensus-
                            specs/blob/dev/specs/phase0/validator.md#proposer-index

                            Attesting
                            A validator is expected to create, sign, and broadcast an attestation
                            during each epoch. The committee, assigned index, and assigned slot
                            for which the validator performs this role during an epoch are defined
                            by get_committee_assignment(state, epoch, validator_index).
                            https://github.com/ethereum/consensus-
                            specs/blob/dev/specs/phase0/validator.md#attesting

                            Construct aggregate
                            If the validator is selected to aggregate (is_aggregator()), they
                            construct an aggregate attestation via the following.
                            Collect attestations seen via gossip during the slot that have an
                            equivalent attestation_data to that constructed by the validator. If
                            len(attestations) > 0, create an aggregate_attestation: Attestation with
                            the following fields.

                            https://github.com/ethereum/consensus-
                            specs/blob/dev/specs/phase0/validator.md#construct-attestation

                            def get_aggregate_signature(attestations: Sequence[Attestation]) ->
                            BLSSignature:
                              signatures = [attestation.signature for attestation in attestations]
                              return bls.Aggregate(signatures)

                            _________________

                            The Coinbase (Owned, managed) Ethereum Validator Node uses the
                            SignedBeaconBlock (as a complete data record) along with the
                            broadcasted Aggregated Attestations to update its record of the Beacon
                            Chain. Finality is achieved if two epochs in a row are justified.

                            ETH2 uses Casper Proof of Stake, specifically, something called a
                            “finality gadget”. The ETH2 finality process is defined as follows:
                                1. If > 2/3rds of validators vote correctly on the chain head
                                      during an epoch, we call the last epoch justified
                                2. If two epochs in a row are justified, the current_epoch - 2 is
                                      considered finalized

                            https://hackmd.io/@prysmaticlabs/finality#How-Finality-Works-in-
                            ETH2

                            _________________

                            The Coinbase (Owned, managed) Ethereum Validator Node as the First
                            Client process the Beacon Block and records the new Validator in the


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                                          Registry on identifying a new deposit in the Deposit Contract. The
                                          Beacon Block is saved by each Eth2 Client.

                                          https://github.com/ethereum/consensus-
                                          specs/blob/dev/specs/phase0/beacon-chain.md#deposits

 wherein the at least one of the          The new Validator Node, as the Second Client, can view the status of
 computing device, the first client       its activation from https://beaconcha.in/
 device, or the second client device
 verifies the recording of the complete
 data record in the distributed ledger
 by observing an external state.




                                          Once a deposit is made to the Ethereum Beacon Chain, it will join a
                                          waiting queue before joining the network.
                                          All Ethereum 2.0 deposits have two delays before going into the waiting
                                          queue:
                                               1. Eth1 data inclusion delay: The Beacon Chain follows Eth1
                                                   with some delay to make sure the Eth1 data is finalized.
                                               2. Eth1 data voting delay: The Beacon Chain validators vote on
                                                   the deposits to process every 4 hours.
                                          You can check more details about your validator, including the
                                          estimated time to join the network, at https://beaconcha.in/.

                                          https://intercom.help/stakefish/en/articles/4799068-when-will-my-
                                          validator-join-the-network-and-be-activated




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 Claim Chart U.S. Patent No. 11,196,566 (the “’566 Patent”) Coinbase
 Claim 2                               Coinbase Products & Services
                                       Payment of block rewards to new Validator Nodes under Proof of
                                       Stake
 The device of claim 1, where:         The Computing Device | Facilitator consists of:
 the computer processor is configured
                                           • the Coinbase (Owned, managed) Ethereum Validator Full
 to obtain the one or more output data
                                               Nodes; and
 based on:
                                           • the Coinbase (Owned, managed) Ethereum supporting
                                               Archive Nodes and Light Nodes; and


                                      Client Device
                                      The First Client is the active Coinbase (Owned, managed) Ethereum
                                      Validator Full Nodes. The Computing Device and the First Client are the
                                      same device.
                                      The Second Client is the newly activated Validator Node, which will
                                      include any prospective Coinbase (Owned, managed or offered)
                                      Ethereum Validator Nodes.


                                      The Coinbase (Owned, managed) Ethereum Validator Nodes facilitates
                                      value transfer to newly activated Validator Nodes (as Second Client)
                                      based on work performed in producing blocks securely. The Beacon
                                      Chain upgrade brings proof-of-stake consensus to Ethereum. For this,
                                      active participants - known as validators – are required to propose,
                                      verify, and vouch for the validity of blocks.


 the first principal data; and        The Coinbase (Owned, managed) Ethereum Validator Full Nodes
 the value data from the first data   processes the validator rewards at the end of each epoch. This is
 source.                              calculated from the Beacon Chain reward and penalty algorithm (Data
                                      Source) and considers the staked principle.

                                      https://consensys.net/blog/codefi/rewards-and-penalties-on-ethereum-
                                      20-phase-0/

                                      https://kb.beaconcha.in/rewards-and-penalties#block-reward

                                      Each Validator account is updated with the reward/penalty. The Beacon
                                      Block is updated accordingly.

                                      def process_rewards_and_penalties(state: BeaconState) -> None:
                                        # No rewards are applied at the end of `GENESIS_EPOCH` because
                                      rewards are for work done in the previous epoch
                                        if get_current_epoch(state) == GENESIS_EPOCH:
                                           return

                                        rewards, penalties = get_attestation_deltas(state)
                                        for index in range(len(state.validators)):
                                           increase_balance(state, ValidatorIndex(index), rewards[index])


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                                decrease_balance(state, ValidatorIndex(index), penalties[index])

                            https://github.com/ethereum/consensus-
                            specs/blob/dev/specs/phase0/beacon-
                            chain.md#process_rewards_and_penalties

                            def process_slashings(state: BeaconState) -> None:
                              epoch = get_current_epoch(state)
                              total_balance = get_total_active_balance(state)
                              adjusted_total_slashing_balance = min(sum(state.slashings) *
                            PROPORTIONAL_SLASHING_MULTIPLIER, total_balance)
                              for index, validator in enumerate(state.validators):
                                 if validator.slashed and epoch +
                            EPOCHS_PER_SLASHINGS_VECTOR // 2 ==
                            validator.withdrawable_epoch:
                                    increment = EFFECTIVE_BALANCE_INCREMENT #
                            Factored out from penalty numerator to avoid uint64 overflow
                                    penalty_numerator = validator.effective_balance // increment *
                            adjusted_total_slashing_balance
                                    penalty = penalty_numerator // total_balance * increment
                                    decrease_balance(state, ValidatorIndex(index), penalty)

                            https://github.com/ethereum/consensus-
                            specs/blob/dev/specs/phase0/beacon-chain.md#slashings




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                      Claim Chart U.S. Patent No. 11,196,566 (the “’566 Patent”) Coinbase
 Claim 3                  Coinbase Products & Services
                          Payment of block rewards to new Validator Nodes under Proof of Stake
 The device of claim 1, The Computing Device | Facilitator consists of:
 where the computer
                              • the Coinbase (Owned, managed) Ethereum Validator Full Nodes; and
 processor is further
 configured to:               • the Coinbase (Owned, managed) Ethereum supporting Archive Nodes and
                                 Light Nodes; and


                       Client Device
                       The First Client is the active Coinbase (Owned, managed) Ethereum Validator Full
                       Nodes. The Computing Device and the First Client are the same device.
                       The Second Client is the newly activated Validator Node, which will include any
                       prospective Coinbase (Owned, managed) Ethereum Validator Nodes.


                       The Coinbase (Owned, managed) Ethereum Validator Nodes facilitates value transfer to
                       newly activated Validator Nodes (as Second Client) based on work performed in
                       producing blocks securely. The Beacon Chain upgrade brings proof-of-stake consensus
                       to Ethereum. For this, active participants - known as validators – are required to propose,
                       verify, and vouch for the validity of blocks.


 compute a second      The Voluntary Exit is initiated and signed from the Validator Nodes Client CLI.
 cryptographic
 signature from the    Teku Client
 first private key;    teku voluntary-exit --validator-keys=<KEY_DIR>:<PASS_DIR> |
                       <KEY_FILE>:<PASS_FILE>[,<KEY_DIR>:<PASS_DIR> |
                       <KEY_FILE>:<PASS_FILE>...]…
                       https://docs.teku.consensys.net/en/latest/Reference/CLI/Subcommands/Voluntary-Exit/

                       Lighthouse Client
                       In order to initiate an exit, users can use the lighthouse account validator exit command.
                                 The --keystore flag is used to specify the path to the EIP-2335 voting keystore
                                 for the validator.
                                 The --beacon-node flag is used to specify a beacon chain HTTP endpoint that
                                 confirms to the Eth2.0 Standard Beacon Node API specifications. That beacon
                                 node will be used to validate and propagate the voluntary exit. The default
                                 value for this flag is http://localhost:5052.
                                 The --network flag is used to specify a particular Eth2 network (default is
                                 mainnet).
                                 The --password-file flag is used to specify the path to the file containing the
                                 password for the voting keystore. If this flag is not provided, the user will be
                                 prompted to enter the password.
                       After validating the password, the user will be prompted to enter a special exit phrase as
                       a final confirmation after which the voluntary exit will be published to the beacon chain.

                       https://lighthouse-book.sigmaprime.io/voluntary-exit.html
 create an another     A Signed Voluntary Exit message is created.
 inchoate data
 record comprising:

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                     Claim Chart U.S. Patent No. 11,196,566 (the “’566 Patent”) Coinbase
 Claim 3                 Coinbase Products & Services
                         Payment of block rewards to new Validator Nodes under Proof of Stake
  a commit input for     The Voluntary Exit is initiated and signed from the Validator Client.
  receiving the
  commit data from       Teku Client
  the commit             teku voluntary-exit --validator-keys=<KEY_DIR>:<PASS_DIR> |
  transaction;           <KEY_FILE>:<PASS_FILE>[,<KEY_DIR>:<PASS_DIR> |
                         <KEY_FILE>:<PASS_FILE>...]…
                         https://docs.teku.consensys.net/en/latest/Reference/CLI/Subcommands/Voluntary-Exit/

                        Lighthouse Client
                        In order to initiate an exit, users can use the lighthouse account validator exit command.
                                  The --keystore flag is used to specify the path to the EIP-2335 voting keystore
                                  for the validator.
                                  The --beacon-node flag is used to specify a beacon chain HTTP endpoint that
                                  confirms to the Eth2.0 Standard Beacon Node API specifications. That beacon
                                  node will be used to validate and propagate the voluntary exit. The default
                                  value for this flag is http://localhost:5052.
                                  The --network flag is used to specify a particular Eth2 network (default is
                                  mainnet).
                                  The --password-file flag is used to specify the path to the file containing the
                                  password for the voting keystore. If this flag is not provided, the user will be
                                  prompted to enter the password.
                        After validating the password, the user will be prompted to enter a special exit phrase as
                        a final confirmation after which the voluntary exit will be published to the beacon chain.

                        https://lighthouse-book.sigmaprime.io/voluntary-exit.html

  a refund output       The Voluntary Exit message contains a reference to the ValidatorIndex which is a
  comprising a          pointer to the account. The refund output is the account balance.
  refund data;
                        https://github.com/ethereum/consensus-specs/blob/dev/specs/phase0/beacon-
                        chain.md#voluntary-exits

                        def process_voluntary_exit(state: BeaconState, signed_voluntary_exit:
                        SignedVoluntaryExit) -> None:
                          voluntary_exit = signed_voluntary_exit.message
                          validator = state.validators[voluntary_exit.validator_index]
                          # Verify the validator is active
                          assert is_active_validator(validator, get_current_epoch(state))
                          # Verify exit has not been initiated
                          assert validator.exit_epoch == FAR_FUTURE_EPOCH
                          # Exits must specify an epoch when they become valid; they are not valid before then
                          assert get_current_epoch(state) >= voluntary_exit.epoch
                          # Verify the validator has been active long enough
                          assert get_current_epoch(state) >= validator.activation_epoch +
                        SHARD_COMMITTEE_PERIOD
                          # Verify signature
                          domain = get_domain(state, DOMAIN_VOLUNTARY_EXIT, voluntary_exit.epoch)
                          signing_root = compute_signing_root(voluntary_exit, domain)
                          assert bls.Verify(validator.pubkey, signing_root, signed_voluntary_exit.signature)

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                       Claim Chart U.S. Patent No. 11,196,566 (the “’566 Patent”) Coinbase
 Claim 3                   Coinbase Products & Services
                           Payment of block rewards to new Validator Nodes under Proof of Stake
                             # Initiate exit
                             initiate_validator_exit(state, voluntary_exit.validator_index)


  the second               The Signed Voluntary Exit message contains the signature from the Validator.
  cryptographic
  signature; and           https://github.com/ethereum/consensus-specs/blob/dev/specs/phase0/beacon-
                           chain.md#signedvoluntaryexit

                           class SignedVoluntaryExit(Container):     message: VoluntaryExit      signature:
                           BLSSignature

  a lock time; and         One of the main design decisions of the Ethereum 2 project is performing the roll-out of
                           the system over several phases. This decision has a serious impact on voluntary exits.
                           Even though validators are able to perform an exit in Phase 0 and Phase 1, they will have
                           to wait until Phase 2 to be able to withdraw. This means their staked funds will be frozen
                           until withdrawals are available, which should be around 2 years after Mainnet launch.

                           https://docs.prylabs.network/docs/wallet/exiting-a-validator/

 publish the another       As the Computing Device and the First Client are the same device (Coinbase Ethereum
 inchoate data             Validator Node), the inchoate data record is already signed by the First Client. As such
 record to at least        the inchoate data record is considered to be published to the First Client on creation of
 one of the first client   the inchoate data record by the Validator Node.
 device or the second
 client device.            The signed inchoate data record (as a complete data record) is broadcast and recorded on
                           the Ethereum Network.
                           The following is an example output message from the Lighthouse Client.

                           Successfully published voluntary exit for validator 0xabcd Voluntary exit has been
                           accepted into the beacon chain, but not yet finalized. Finalization may take several
                           minutes or longer. Before finalization there is a low probability that the exit may be
                           reverted. Current epoch: 29946, Exit epoch: 29951, Withdrawable epoch: 30207 Please
                           keep your validator running till exit epoch Exit epoch in approximately 1920 secs.

                           https://lighthouse-book.sigmaprime.io/voluntary-exit.html




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             Claim Chart U.S. Patent No. 11,196,566 (the “’566 Patent”) Coinbase
 Claim 7                                  Coinbase Products & Services
 A system for processing a transaction    Payment of block rewards to new Validator Nodes under
 between a first client device and a      Proof of Stake
 second client device via a transfer
 mechanism the system comprising a
 computing device, the first client
 device, the second client device, and
 the transfer mechanism.
 7. a. the computing device comprising:   The Computing Device | Facilitator consists of:
     i.    a first memory comprising          • the Coinbase (Owned, managed) Ethereum Validator Full
           for storing a first                   Nodes; and
           asymmetric key pair, the           • the Coinbase (Owned, managed) Ethereum supporting
           first asymmetric key pair             Archive Nodes and Light Nodes; and
           comprising a first private
           key and a first public key;    Client Device
                                          The First Client is an active Coinbase (Owned, managed) Ethereum
                                          Validator Full Nodes. The Computing Device and the First Client are
                                          the same device.


                                          These consist of a computer hardware/software combination to run,
                                          namely:
                                              •    Memory (RAM), used in the computing device (such as a
                                                   computer, server or server cloud instance).
                                              •    Transaction record sector (stores transactions and data that
                                                   haven't been submitted to the blockchain yet)
                                              •    a first key pair sector which is generated and stored on the
                                                   device (typically)
                                              •    The asymmetric key pair generated and/or stored consists of
                                                   a first private key and a first public key and is stored on the
                                                   Eth Node


                                          Recommended hardware requirements for running a node.
                                          https://launchpad.ethereum.org/en/checklist


                                          A description of the Validator’s Node keys is described in the following
                                          link.
                                          https://kb.beaconcha.in/ethereum-2-keys


                                          The validator signing key consists of two elements:
                                              1.   Validator private key
                                              2.   Validator public key
                                          The purpose of the validator private key is to actively sign on-chain
                                          (ETH2) operations such as block proposals and attestations. Therefore,
                                          these keys have to be held in a hot wallet.


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                                             Example Validator Client (Prysmatic) installation guide shows key
                                             management.
                                             https://docs.prylabs.network/docs/install/install-with-script/


   ii.       a first network interface for   The First Client is an active Coinbase (Owned, Managed) Ethereum
             receiving terms, the terms      Validator Full Nodes. The Computing Device and the First Client are
             comprising.                     the same device.
                                             The Ethereum Network requires network connectivity in order to
                                             achieve PoS consensus.


                                             https://launchpad.ethereum.org/en/checklist
                                             https://github.com/ethereum/consensus-
                                             specs/blob/dev/specs/phase0/validator.md#block-proposal
                                             https://github.com/ethereum/consensus-
                                             specs/blob/dev/specs/phase0/validator.md#attesting
                                             https://github.com/ethereum/consensus-
                                             specs/blob/dev/specs/phase0/validator.md#broadcast-attestation
                                             https://github.com/ethereum/consensus-
                                             specs/blob/dev/specs/phase0/validator.md#broadcast-aggregate


         A. At least one of a first          First principle data
            principal data or second         The initial deposit staking amount to participate as a Eth2 Validator in
            principle data;                  the Ethereum Network.

                                             The Beacon Chain upgrade brings proof-of-stake consensus to
                                             Ethereum. For this, we need active participants - known as validators -
                                             to propose, verify, and vouch for the validity of blocks. In exchange,
                                             honest validators receive financial rewards. Importantly, as a validator
                                             you'll need to post ETH as collateral - in other words, have some funds
                                             at stake. The only way to become a validator is to make a one-way ETH
                                             transaction to the deposit contract on the current Ethereum chain.

                                             https://launchpad.ethereum.org/en/overview

                                             https://github.com/ethereum/consensus-
                                             specs/blob/dev/specs/phase0/beacon-chain.md#deposits
         B. a reference to at least one of   First data source
            a first data source or a         The Beacon Chain reward and penalty algorithm.
            second data source; and
                                             https://consensys.net/blog/codefi/rewards-and-penalties-on-
                                             ethereum-20-phase-0/

                                             https://kb.beaconcha.in/rewards-and-penalties#block-reward

                                             https://github.com/ethereum/consensus-
                                             specs/blob/dev/specs/phase0/beacon-chain.md#attestations



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          C. an expiration timestamp,         At the beginning of each epoch (every 32 slots, except GENESIS),
                                              several things happen, including:
                                                 • Justification and finalization of the chain
                                                 • Assignment of rewards and penalties to attesters
                                                 • Update of the validator registry
                                                 • The special slashing penalty (see above), and
                                                 • Some final updates (computing effective balances, resets, etc)

                                              https://consensys.net/blog/codefi/rewards-and-penalties-on-
                                              ethereum-20-phase-0/

                                              https://github.com/ethereum/consensus-
                                              specs/blob/dev/specs/phase0/beacon-chain.md#epoch-
                                              processing
iii.       a first computer processor         The First Client is an active Coinbase (Owned, Managed) Ethereum
           coupled to the first memory and    Validator Full Nodes. The Computing Device and the First Client are
           the first network interface, the   the same device.
           first computer processor           These consist of a computer hardware/software combination to run.
           configured to:


       A. read the first private key from     The Ethereum Validator Full Node is expected to propose a
          the first memory;                   SignedBeaconBlock at the beginning of any slot during which
                                              is_proposer(state, validator_index) returns True. To propose, the
                                              validator selects the BeaconBlock, parent, that in their view of the fork
                                              choice is the head of the chain during slot - 1. The validator creates,
                                              signs, and broadcasts a block that is a child of parent that satisfies a
                                              valid beacon chain state transition.

                                              https://github.com/ethereum/consensus-
                                              specs/blob/dev/specs/phase0/validator.md#block-proposal

                                              Preparing for a BeaconBlock
                                              To construct a BeaconBlockBody, a block (BeaconBlock) is defined
                                              with the necessary context for a block proposal:

                                              Slot
                                              Set block.slot = slot where slot is the current slot at which the validator
                                              has been selected to propose. The parent selected must satisfy that
                                              parent.slot < block.slot.
                                              Note: There might be "skipped" slots between the parent and block.
                                              These skipped slots are processed in the state transition function
                                              without per-block processing.

                                              Proposer index
                                              Set block.proposer_index = validator_index where validator_index is
                                              the validator chosen to propose at this slot. The private key mapping to
                                              state.validators[validator_index].pubkey is used to sign the block.

                                              BLS public key
                                              Validator public keys are G1 points on the BLS12-381 curve. A
                                              private key, privkey, must be securely generated along with the


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                                            resultant pubkey. This privkey must be "hot", that is, constantly
                                            available to sign data throughout the lifetime of the validator.

                                            https://github.com/ethereum/consensus-
                                            specs/blob/dev/specs/phase0/validator.md#bls-public-key

  B. compute a first cryptographic          The Ethereum Validator Full Node is expected to propose a
     signature from the first private       SignedBeaconBlock at the beginning of any slot during which
     key;                                   is_proposer(state, validator_index) returns True. To propose, the
                                            validator selects the BeaconBlock, parent, that in their view of the fork
                                            choice is the head of the chain during slot - 1. The validator creates,
                                            signs, and broadcasts a block that is a child of parent that satisfies a
                                            valid beacon chain state transition.

                                            https://github.com/ethereum/consensus-
                                            specs/blob/dev/specs/phase0/validator.md#block-proposal

                                            Preparing for a BeaconBlock
                                            To construct a BeaconBlockBody, a block (BeaconBlock) is defined
                                            with the necessary context for a block proposal:

                                            Slot
                                            Set block.slot = slot where slot is the current slot at which the validator
                                            has been selected to propose. The parent selected must satisfy that
                                            parent.slot < block.slot.
                                            Note: There might be "skipped" slots between the parent and block.
                                            These skipped slots are processed in the state transition function
                                            without per-block processing.

                                            Proposer index
                                            Set block.proposer_index = validator_index where validator_index is
                                            the validator chosen to propose at this slot. The private key mapping to
                                            state.validators[validator_index].pubkey is used to sign the block.




  C. create an inchoate data record         The SignedBeaconBlock, as produced by the Ethereum Network’s
     comprising:                            Validator, containing the deposit of a prospective Validator that is yet
                                            to be added to the list of registered Validators.
     a.   a commit input for receiving      The 32ETH deposit stake required to instantiate a prospective Eth2
          a commit data from a              Validator.
          commit transaction;
     b.   one or more outputs               The prospective Validator’s reward or penalty. This is implied as these
          obtained from at least one of     are rules of the network.
          the first principal data or the
          second principal data, and a      The Beacon Chain reward and penalty algorithm uses predefined values
          value data from at least one      and formulas, along with the effective staking balance of the
                                            participating nodes to calculate the reward or penalty for the Validators.


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          of the first data source or
          the second data source; and      https://consensys.net/blog/codefi/rewards-and-penalties-on-
                                           ethereum-20-phase-0/

                                           https://kb.beaconcha.in/rewards-and-penalties#block-reward

                                           https://github.com/ethereum/consensus-
                                           specs/blob/dev/specs/phase0/beacon-chain.md#attestations

     c.   the first cryptographic          The Ethereum Network Validator is expected to propose a
          signature; and                   SignedBeaconBlock at the beginning of any slot during which
                                           is_proposer(state, validator_index) returns True. To propose, the
                                           validator selects the BeaconBlock, parent, that in their view of the fork
                                           choice is the head of the chain during slot - 1. The validator creates,
                                           signs, and broadcasts a block that is a child of parent that satisfies a
                                           valid beacon chain state transition.

                                           https://github.com/ethereum/consensus-
                                           specs/blob/dev/specs/phase0/validator.md#block-proposal




                                           Note that the signed block includes the Eth1 data containing the 32ETH
                                           deposit stake to instantiate a Validator.


                                           Eth1 Data
                                           The block.body.eth1_data field is for block proposers to vote on recent
                                           Eth1 data. This recent data contains an Eth1 block hash as well as the
                                           associated deposit root (as calculated by the get_deposit_root() method
                                           of the deposit contract) and deposit count after execution of the
                                           corresponding Eth1 block. If over half of the block proposers in the
                                           current Eth1 voting period vote for the same eth1_data then
                                           state.eth1_data updates immediately allowing new deposits to be
                                           processed. Each deposit in block.body.deposits must verify against
                                           state.eth1_data.eth1_deposit_root.

                                           https://github.com/ethereum/consensus-
                                           specs/blob/dev/specs/phase0/validator.md#eth1-data
  D. publish the inchoate data             As the Computing Device and the First Client are the same device
     record to at least one of the first   (Coinbase (Owned, managed) Ethereum Validator Node), the inchoate
     client device or the second           data record is already known by the First Client. As such the inchoate
     client device;                        data record is considered to be published to the First Client on creation
                                           of the inchoate data record by the Validator Node.

                                           A validator is expected to propose a SignedBeaconBlock at the
                                           beginning of any slot during which is_proposer(state, validator_index)
                                           returns True. To propose, the validator selects the BeaconBlock,


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                                           parent, that in their view of the fork choice is the head of the chain
                                           during slot - 1. The validator creates, signs, and broadcasts a block
                                           that is a child of parent that satisfies a valid beacon chain state
                                           transition.

                                           https://github.com/ethereum/consensus-
                                           specs/blob/dev/specs/phase0/validator.md#block-proposal

 7. b. the first client comprises:         The Computing Device | Facilitator consists of:
   i.     a second memory for storing          • the Coinbase (Owned, managed) Ethereum Validator Full
          a second asymmetric key                 Nodes; and
          pair, the second asymmetric          • the Coinbase (Owned, managed) Ethereum supporting
          key pair comprising a second            Archive Nodes and Light Nodes; and
          private key and a second
          public key.                      Client Device
                                           The First Client is an active Coinbase (Owned, managed) Ethereum
                                           Validator Full Nodes.

                                           The Facilitator and the First Client are the same device. Thus, the
                                           clause is not assessable as it is covered by the above clauses 7a.i.


  ii.      a second network interface;     The Facilitator and the First Client are the same device. Thus, the
           and                             clause is not assessable as it is covered by the above clauses 7a.ii.


 iii.     a second computer processor      The Facilitator and the First Client are the same device. Thus, the
          coupled to the second            clause is not assessable as it is covered by the above clauses 7a.iii.A-E.
          memory and the second
          network interface, the second
          computer processor
          configured to:
        A. read the second private key     The Facilitator and the First Client are the same device. Thus, the
           from the second key pair        clause is not assessable as it is covered by the above clauses 7a.iii.A.
           sector;
        B. read the inchoate               The Facilitator and the First Client are both considered to be the same
           disbursement transaction        device. Thus, the clause is not assessable.
           record,
        C. compute a second                The Facilitator and the First Client are the same device. Thus, the
           cryptographic signature         clause is not assessable as it is covered by the above clauses 7a.iii.B.
           from the second private key
        D. create a complete data          The Facilitator and the First Client are the same device. Thus, the
           record comprising:              clause is not assessable as it is covered by the above clauses 7a.iii.C.
           I. the commit input,

            II. the output data,           The Facilitator and the First Client are the same device. Thus, the
                                           clause is not assessable as it is covered by the above clauses 7a.iii.C.
            III. the first cryptographic   The Facilitator and the First Client are the same device. Thus, the
                 signature, and            clause is not assessable as it is covered by the above clauses 7a.iii.C.



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           IV. the second                  The Facilitator and the First Client are the same device. Thus, the
                cryptographic              clause is not assessable as it is covered by the above clauses 7a.iii.C.
                signature,
      E. create a transaction by           The Facilitator and the First Client are the same device. Thus, the
           submitting the complete data    clause is not assessable as it is covered by the above clauses 7a.iii.D.
           record to the transfer
           mechanism.
 7. c. the second client comprises:        The Second Client is a prospective Validator Node, which will include
   i.     a third memory for storing a     any prospective Coinbase (Owned, managed, offered) Ethereum
          third asymmetric key pair, the   Validator Nodes.
          third asymmetric key pair
          comprising a third private
                                           These consist of a computer hardware/software combination to run,
          key and a third public key.      namely:
                                               •    Memory (RAM), used in the computing device (such as a
                                                    computer, server or server cloud instance).
                                               •    Transaction record sector (stores transactions and data that
                                                    haven't been submitted to the blockchain yet)
                                               •    a first key pair sector which is generated and stored on the
                                                    device (typically)
                                               •    The asymmetric key pair generated and/or stored consists of
                                                    a first private key and a first public key and is stored on the
                                                    device


                                           Recommended hardware requirements for running a node.
                                           https://launchpad.ethereum.org/en/checklist


                                           A description of the Validator Node’s keys is described in the following
                                           link.
                                           https://kb.beaconcha.in/ethereum-2-keys


                                           The validator signing key consists of two elements:
                                               1.   Validator private key
                                               2.   Validator public key
                                           The purpose of the validator private key is to actively sign on-chain
                                           (ETH2) operations such as block proposals and attestations. Therefore,
                                           these keys have to be held in a hot wallet.


                                           Example Validator Client (Prysmatic) installation guide shows key
                                           management.
                                           https://docs.prylabs.network/docs/install/install-with-script/

   ii.    a third network interface;       The newly activated Validator requires network connectivity in order to
          and                              contribute to PoS consensus.
                                           https://launchpad.ethereum.org/en/checklist
                                           https://github.com/ethereum/consensus-
                                           specs/blob/dev/specs/phase0/validator.md#block-proposal

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                                              https://github.com/ethereum/consensus-
                                              specs/blob/dev/specs/phase0/validator.md#attesting
                                              https://github.com/ethereum/consensus-
                                              specs/blob/dev/specs/phase0/validator.md#broadcast-attestation
                                              https://github.com/ethereum/consensus-
                                              specs/blob/dev/specs/phase0/validator.md#broadcast-aggregate

  iii.    a third computer processor          The newly activated Validator is required to sign (by reading the locally
          coupled to the third memory         stored private key) produced blocks, attestations and aggregated
          and the third network               attestations.
          interface, the third computer
          processor configured to read        https://github.com/ethereum/consensus-
          the third private key from          specs/blob/dev/specs/phase0/validator.md#signature
          memory; and                         https://github.com/ethereum/consensus-
                                              specs/blob/dev/specs/phase0/validator.md#aggregate-signature
                                              https://github.com/ethereum/consensus-
                                              specs/blob/dev/specs/phase0/validator.md#aggregate-signature-
                                              1

 wherein the at least one of the first        As the Computing Device and the First Client are the same device
 client device or the second client           (Coinbase (Owned, managed) Ethereum Validator Node), the inchoate
 device signs the inchoate data record        data record is already signed by the First Client. The signed inchoate
 and saves a copy of the inchoate data        data record (as a complete data record) is broadcast and recorded on the
 record on at least one of the first client   Ethereum Network.
 device or the second client device,
                                              A validator is expected to propose a SignedBeaconBlock at the
                                              beginning of any slot during which is_proposer(state, validator_index)
                                              returns True. To propose, the validator selects the BeaconBlock,
                                              parent, that in their view of the fork choice is the head of the chain
                                              during slot - 1. The validator creates, signs, and broadcasts a block
                                              that is a child of parent that satisfies a valid beacon chain state
                                              transition.

                                              https://github.com/ethereum/consensus-
                                              specs/blob/dev/specs/phase0/validator.md#block-proposal

 wherein the transfer mechanism               Ether is used as the decentralised currency. The Ethereum network
 comprising a decentralized digital           maintains a distributed ledger without the need for a trusted central
 currency that comprises a distributed        authority.
 ledger that enables processing the
 transaction between the first client
 device and the second client device          From the Ethereum yellow paper.
 without the need of a trusted central        2.1. Value. In order to incentivise computation within the network,
 authority,                                   there needs to be an agreed method for transmitting value. To address
                                              this issue, Ethereum has an intrinsic currency, Ether, known also as
                                              ETH and sometimes referred to by the Old English ¯D.


                                              https://ethereum.github.io/yellowpaper/paper.pdf
 wherein the transaction is created by        As the Computing Device and the First Client are the same device
 broadcasting the complete data record        (Coinbase (Owned, managed) Ethereum Validator Node), the inchoate

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 for transmitting and receiving among   data record is already signed by the First Client. The signed inchoate
 network participants in the computer   data record (as a complete data record) is broadcast and recorded on the
 network for recording in the           Ethereum Network.
 distributed ledger, and
                                        The SignedBeaconBlock, in order to achieve consensus, is required to
                                        be signed by the Ethereum Network as the First Client (the Eth2
                                        Validators) as either the Block Producer, Attester or Aggregator’s.

                                        Proposer index
                                        Set block.proposer_index = validator_index where validator_index is
                                        the validator chosen to propose at this slot. The private key mapping to
                                        state.validators[validator_index].pubkey is used to sign the block.
                                        https://github.com/ethereum/consensus-
                                        specs/blob/dev/specs/phase0/validator.md#proposer-index

                                        Attesting
                                        A validator is expected to create, sign, and broadcast an attestation
                                        during each epoch. The committee, assigned index, and assigned slot
                                        for which the validator performs this role during an epoch are defined
                                        by get_committee_assignment(state, epoch, validator_index).
                                        https://github.com/ethereum/consensus-
                                        specs/blob/dev/specs/phase0/validator.md#attesting

                                        Construct aggregate
                                        If the validator is selected to aggregate (is_aggregator()), they
                                        construct an aggregate attestation via the following.
                                        Collect attestations seen via gossip during the slot that have an
                                        equivalent attestation_data to that constructed by the validator. If
                                        len(attestations) > 0, create an aggregate_attestation: Attestation with
                                        the following fields.

                                        https://github.com/ethereum/consensus-
                                        specs/blob/dev/specs/phase0/validator.md#construct-attestation

                                        def get_aggregate_signature(attestations: Sequence[Attestation]) ->
                                        BLSSignature:
                                          signatures = [attestation.signature for attestation in attestations]
                                          return bls.Aggregate(signatures)

                                        _________________

                                        The Coinbase (Owned, managed) Ethereum Validator Node uses the
                                        SignedBeaconBlock (as a complete data record) along with the
                                        broadcasted Aggregated Attestations to update its record of the Beacon
                                        Chain. Finality is achieved if two epochs in a row are justified.

                                        ETH2 uses Casper Proof of Stake, specifically, something called a
                                        “finality gadget”. The ETH2 finality process is defined as follows:
                                            3. If > 2/3rds of validators vote correctly on the chain head
                                                  during an epoch, we call the last epoch justified
                                            4. If two epochs in a row are justified, the current_epoch - 2 is
                                                  considered finalized

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                                           https://hackmd.io/@prysmaticlabs/finality#How-Finality-Works-in-
                                           ETH2

                                           _________________

                                           The Coinbase (Owned, managed) Ethereum Validator Node as the First
                                           Client process the Beacon Block and records the new Validator in the
                                           Registry on identifying a new deposit in the Deposit Contract. The
                                           Beacon Block is saved by each Eth2 Client.

                                           https://github.com/ethereum/consensus-
                                           specs/blob/dev/specs/phase0/beacon-chain.md#deposits

 wherein at least one of the computer      The new Validator Node, as the Second Client, can view the status of
 device, the first client device, or the   its activation from https://beaconcha.in/
 second client device verifies the
 recording of the complete data record
 in the distributed ledger by observing
 an external state




                                           Once a deposit is made to the Ethereum Beacon Chain, it will join a
                                           waiting queue before joining the network.
                                           All Ethereum 2.0 deposits have two delays before going into the waiting
                                           queue:
                                                3. Eth1 data inclusion delay: The Beacon Chain follows Eth1
                                                    with some delay to make sure the Eth1 data is finalized.
                                                4. Eth1 data voting delay: The Beacon Chain validators vote on
                                                    the deposits to process every 4 hours.
                                           You can check more details about your validator, including the
                                           estimated time to join the network, at https://beaconcha.in/.

                                           https://intercom.help/stakefish/en/articles/4799068-when-will-my-
                                           validator-join-the-network-and-be-activated




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             Claim Chart U.S. Patent No. 11,196,566 (the “’566 Patent”) Coinbase
 Claim 8                 Coinbase Products & Services
                         Payment of block rewards to new Validator Nodes under Proof of Stake
 The system of claim     The Computing Device | Facilitator consists of:
 7, where the first
                             •    the Coinbase (Owned, managed) Ethereum Validator Full Nodes; and
 computer processor
 is further configured       •    the Coinbase (Owned, managed) Ethereum supporting Archive Nodes and
 to:                              Light Nodes; and


                         Client Device
                         The First Client is the active Coinbase (Owned, managed) Ethereum Validator Full
                         Nodes. The Facilitator and the First Client are the same device.
                         The Second Client is the newly activated Validator Node, which will include any
                         prospective Coinbase (Owned, managed) Ethereum Validator Nodes.
 compute a third         The Voluntary Exit is initiated and signed from the Validator Nodes Client CLI.
 cryptographic
 signature from the      Teku Client
 first private key;      teku voluntary-exit --validator-keys=<KEY_DIR>:<PASS_DIR> |
                         <KEY_FILE>:<PASS_FILE>[,<KEY_DIR>:<PASS_DIR> |
                         <KEY_FILE>:<PASS_FILE>...]…
                         https://docs.teku.consensys.net/en/latest/Reference/CLI/Subcommands/Voluntary-Exit/

                         Lighthouse Client
                         In order to initiate an exit, users can use the lighthouse account validator exit command.
                                   The --keystore flag is used to specify the path to the EIP-2335 voting keystore
                                   for the validator.
                                   The --beacon-node flag is used to specify a beacon chain HTTP endpoint that
                                   confirms to the Eth2.0 Standard Beacon Node API specifications. That beacon
                                   node will be used to validate and propagate the voluntary exit. The default
                                   value for this flag is http://localhost:5052.
                                   The --network flag is used to specify a particular Eth2 network (default is
                                   mainnet).
                                   The --password-file flag is used to specify the path to the file containing the
                                   password for the voting keystore. If this flag is not provided, the user will be
                                   prompted to enter the password.
                         After validating the password, the user will be prompted to enter a special exit phrase as
                         a final confirmation after which the voluntary exit will be published to the beacon chain.

                         https://lighthouse-book.sigmaprime.io/voluntary-exit.html
 create another          A Signed Voluntary Exit message is created.
 inchoate data
 record comprising:
   a commit input for    The Voluntary Exit is initiated and signed from the Validator Client.
   receiving the
   commit data from      Teku Client
   the commit            teku voluntary-exit --validator-keys=<KEY_DIR>:<PASS_DIR> |
   transaction;          <KEY_FILE>:<PASS_FILE>[,<KEY_DIR>:<PASS_DIR> |
                         <KEY_FILE>:<PASS_FILE>...]…
                         https://docs.teku.consensys.net/en/latest/Reference/CLI/Subcommands/Voluntary-Exit/


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                     Lighthouse Client
                     In order to initiate an exit, users can use the lighthouse account validator exit command.
                               The --keystore flag is used to specify the path to the EIP-2335 voting keystore
                               for the validator.
                               The --beacon-node flag is used to specify a beacon chain HTTP endpoint that
                               confirms to the Eth2.0 Standard Beacon Node API specifications. That beacon
                               node will be used to validate and propagate the voluntary exit. The default
                               value for this flag is http://localhost:5052.
                               The --network flag is used to specify a particular Eth2 network (default is
                               mainnet).
                               The --password-file flag is used to specify the path to the file containing the
                               password for the voting keystore. If this flag is not provided, the user will be
                               prompted to enter the password.
                     After validating the password, the user will be prompted to enter a special exit phrase as
                     a final confirmation after which the voluntary exit will be published to the beacon chain.

                     https://lighthouse-book.sigmaprime.io/voluntary-exit.html

  a refund output    The Voluntary Exit message contains a reference to the ValidatorIndex which is a
  comprising a       pointer to the account. The refund output is the account balance.
  refund data; and
                     https://github.com/ethereum/consensus-specs/blob/dev/specs/phase0/beacon-
                     chain.md#voluntary-exits

                     def process_voluntary_exit(state: BeaconState, signed_voluntary_exit:
                     SignedVoluntaryExit) -> None:
                       voluntary_exit = signed_voluntary_exit.message
                       validator = state.validators[voluntary_exit.validator_index]
                       # Verify the validator is active
                       assert is_active_validator(validator, get_current_epoch(state))
                       # Verify exit has not been initiated
                       assert validator.exit_epoch == FAR_FUTURE_EPOCH
                       # Exits must specify an epoch when they become valid; they are not valid before then
                       assert get_current_epoch(state) >= voluntary_exit.epoch
                       # Verify the validator has been active long enough
                       assert get_current_epoch(state) >= validator.activation_epoch +
                     SHARD_COMMITTEE_PERIOD
                       # Verify signature
                       domain = get_domain(state, DOMAIN_VOLUNTARY_EXIT, voluntary_exit.epoch)
                       signing_root = compute_signing_root(voluntary_exit, domain)
                       assert bls.Verify(validator.pubkey, signing_root, signed_voluntary_exit.signature)
                       # Initiate exit
                       initiate_validator_exit(state, voluntary_exit.validator_index)


  the third          The Signed Voluntary Exit message contains the signature from the Validator.
  cryptographic
  signature; and     https://github.com/ethereum/consensus-specs/blob/dev/specs/phase0/beacon-
                     chain.md#signedvoluntaryexit

                     class SignedVoluntaryExit(Container):     message: VoluntaryExit      signature:
                     BLSSignature

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 publish the another       As the Computing Device and the First Client are the same device (Coinbase Ethereum
 inchoate data             Validator Node), the inchoate data record is already signed by the First Client. As such
 record to at least        the inchoate data record is considered to be published to the First Client on creation of
 one of the first client   the inchoate data record by the Validator Node.
 and the second
 client.                   The signed inchoate data record (as a complete data record) is broadcast and recorded on
                           the Ethereum Network.
                           The following is an example output message from the Lighthouse Client.

                           Successfully published voluntary exit for validator 0xabcd Voluntary exit has been
                           accepted into the beacon chain, but not yet finalized. Finalization may take several
                           minutes or longer. Before finalization there is a low probability that the exit may be
                           reverted. Current epoch: 29946, Exit epoch: 29951, Withdrawable epoch: 30207 Please
                           keep your validator running till exit epoch Exit epoch in approximately 1920 secs.

                           https://lighthouse-book.sigmaprime.io/voluntary-exit.html




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               Claim Chart U.S. Patent No. 11,196,566 (the “’566 Patent”) Coinbase

 Claim 1                                          Coinbase Products & Services
 A computing device for processing a              Payment to Validator Node from a transaction (that incurs
 transaction between a first client device, and
 a second client device via a transfer
                                                  a transaction fee) on the Solana Network.
 mechanism, the transfer mechanism
 comprising a decentralized digital currency
 The computing device comprising:                 The Computing Device | Facilitator consists of:
                                                      • the Coinbase (Owned, managed or offered) Solana
                                                           Validator Full Nodes; and
                                                      • the Coinbase (Owned, managed or offered) Solana
                                                           supporting Archive Nodes and Light Nodes; and
                                                      • the Coinbase (Solana compatible) wallets;
                                                  Where both the Coinbase Nodes and the Coinbase Solana compatible
                                                  end user wallet device are networked to have direct or indirect
                                                  communication with each other.

                                                  The Computing Device and the First Client are considered to be the
                                                  same device. Four (4) instances have been identified that represent
                                                  various implementations that exist.

                                                      •    The Computing Device and the First Client are the same
                                                           device where the First Client runs Coinbase Wallet software
                                                           to create, sign and submit transactions to the Solana Node
                                                           for processing.

                                                      •    The Computing Device and the First Client are the same
                                                           device where the First Client is a Client Browser or
                                                           Command Line Interface on a Coinbase Solana Node used
                                                           to create, sign and submit transactions to the Coinbase
                                                           Solana Node for processing.

                                                      •    The Computing Device and the First Client are the same
                                                           device where the First Client utilises Coinbase Private Key
                                                           management mechanism in order to sign and submit
                                                           transactions to the Coinbase Solana Node for processing.

                                                      •    The Computing Device and the First Client are the same
                                                           device where the First Client is a Coinbase Validator Node
                                                           with a vote account key pair to sign voting transactions.

                                                  The Patent allows for, and the Claims do not prevent, the Computing
                                                  System from being, or including, the First Client. This is detailed in
                                                  the Patent description [0055].

                                                  FIG. 1 (see Figure 16) depicts a typical embodiment for practicing the
                                                  invention—especially for use with a distributed transfer mechanism—
                                                  where the clients, transfer mechanism, facilitator, and data source are
                                                  distinct participants. However, the depicted arrangement is not the
                                                  only one contemplated by the invention. In an alternate embodiment,

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                                          the facilitator provides some or all aspects of the transfer mechanism.
                                          In another embodiment, the facilitator comprises some or all aspects
                                          of a client. For example, part or all of a client's data store, the ability
                                          to initiate or accept offers, etc., could be “embedded” in the
                                          facilitator, thereby enabling the facilitator to operate as a client itself
                                          (e.g., one controlled by the owners of the facilitator, or on behalf of a
                                          third party who has entrusted control to the facilitator). In yet another
                                          embodiment, the facilitator comprises the data source. Many
                                          configurations are contemplated by the invention are possible, and
                                          will become apparent to one skilled in the art.
    •   a memory for storing a first      The First Client, as part of the Computing Device, need a computer
        asymmetric key pair, the first    hardware/software combination to run, namely:
        asymmetric key pair comprising         • Memory (RAM), used in the computing device (such as a
        a first private key and a first
                                                    computer or mobile phone).
        public key;
                                               • Transaction record sector (stores transactions that haven't
                                                    been submitted to the blockchain yet) kept via the crypto
                                                    software wallets

                                          Where the First Client runs Coinbase Wallet software to sign
                                          transactions, contains:
                                               • a first key pair sector which is generated and stored in the
                                                   wallet software
                                               • The asymmetric key pair generated and/or stored consists of
                                                   a first private key and a first public key – all found and
                                                   manipulated via the wallet software.
                                               • The wallet software connects via the public key or the key
                                                   pair, and authorizes (signs) the transaction with the private
                                                   key of the key pair.

                                          Where the First Client is a Coinbase Solana Node Client Browser or
                                          Command Line Interface to transaction creation, contains:
                                             • a first key pair sector which is generated and stored on the
                                                  device
                                             • The asymmetric key pair stored consists of a first private
                                                  key and a first public key.

                                          Where the First Client utilises Coinbase Private key management in
                                          order to sign transactions, contains:
                                              • a first key pair sector which is stored in the key
                                                    management vault/software
                                              • The asymmetric key pair generated and/or stored consists of
                                                    a first private key and a first public key – all found and
                                                    manipulated via the key management vault/software.
                                              • The key management vault/software connects via the public
                                                    key or the key pair, and authorizes (signs) the transaction
                                                    with the private key of the key pair.

                                          Where the First Client is a Coinbase Validator Node with a vote
                                          account key pair to sign voting transactions contains
                                              • a first key pair sector which is generated and stored on the
                                                  device


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                                                •    The asymmetric key pair stored consists of a first private
                                                     key and a first public key.

                                            Source Code
                                            https://github.com/solana-
                                            labs/solana/blob/master/validator/src/main.rs#L2999

    •   a network interface for receiving   The Coinbase Wallet product serves as the network interface usage
        terms, the terms comprising:        implementation, we see the following.

                                            The app prompts you to connect to “Connect my Coinbase Wallet”
                                            Note that the mobile data interface is set to airplane mode, which
                                            disables all network data i/o coming into and out of the mobile device
                                            (reference the ‘plane’ icon in the upper RHS corner).




                                            Upon attempting to “Connect my Coinbase…” with the data interface
                                            disabled, a blank screen results, as follows:




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                             The Coinbase Wallet app interfaces with nodes and servers in the
                             Coinbase infrastructure to query information or connect to a client. To
                             fetch data like user identification verification credentials, token swap
                             rates, token balances, and other information from the Coinbase
                             infrastructure servers, nodes and smart contracts, such infrastructure
                             responds to queries through the Coinbase Wallet app, the network
                             interface,
                             Once the network interface is enabled, as shown by the wi-fi and
                             cellular service icons in the upper right-hand corner that have replaced
                             the airplane mode symbol, the interface for entering and submitting
                             user credentials is available after querying Coinbase’s servers. The
                             interface actually states that “you will be redirected to
                             https://wallet.coinbase.com (their website) after the authorization”




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                             Once the Coinbase Wallet app is connected, it is able to query
                             Coinbase infrastructure and populate the app with a plethora of
                             information.

                             Choosing the “Send” option as an illustration, we can opt to send SOL
                             to any address.




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                             The Coinbase Wallet app populates the app with prices, quantities and
                             transaction fees.




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                             Note below, with the airplane mode turned on to deprive the Coinbase
                             Wallet app access to the Coinbase infrastructure results in a very
                             different outcome when one attempts to perform the send transaction




                             An error dialog is given after the “continue” button is depressed.




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            o   at least one of a first   First principle data
                principal data or a       A transaction fee provided by the Client to pay for sending a
                second principal data;    transaction.

                                          Note: Before any transaction instructions are processed, the fee payer
                                          account balance will be deducted to pay for transaction fees. If the fee
                                          payer balance is not sufficient to cover transaction fees, the transaction
                                          will be dropped by the cluster. If the balance was sufficient, the fees
                                          will be deducted whether the transaction is processed successfully or
                                          not. In fact, if any of the transaction instructions return an error or
                                          violate runtime restrictions, all account changes *except* the
                                          transaction fee deduction will be rolled back.

                                          https://solanacookbook.com/core-concepts/transactions.html#fees

                                          https://jstarry.notion.site/Transaction-Fees-
                                          f09387e6a8d84287aa16a34ecb58e239

            o   a reference to at least   First data source
                one of a first data       The current lampoons per signature
                source or a second
                data source; and
                                          Each validator uses signatures per slot (SPS) to estimate network
                                          congestion and SPS target to estimate the desired processing capacity
                                          of the cluster. The validator learns the SPS target from the genesis
                                          config, whereas it calculates SPS from recently processed transactions.
                                          The genesis config also defines a target lamports_per_signature, which
                                          is the fee to charge per signature when the cluster is operating at SPS
                                          target.
                                          https://docs.solana.com/implemented-proposals/transaction-
                                          fees#congestion-driven-fees

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                                Note that the Client uses the JSON RPC API to query the cluster for
                                the current fee parameters. getFeeForMessage
                                https://docs.solana.com/developing/clients/jsonrpc-
                                api#getfeeformessage

                                Second data source
                                The portion of the transaction fee payable to the Leader. 50% of each
                                transaction fee is burned, with the remaining fee retained by the
                                validator that processes the transaction.
                                https://docs.solana.com/inflation/terminology#effective-inflation-rate-

            o   an expiration   1. The transaction needs to be performed within a timeframe.
                timestamp;      Thus the expiration time is implied from the use of the network.

                                A transaction includes a recent blockhash to prevent duplication and
                                to give transactions lifetimes. Any transaction that is completely
                                identical to a previous one is rejected, so adding a newer blockhash
                                allows multiple transactions to repeat the exact same action.
                                Transactions also have lifetimes that are defined by the blockhash, as
                                any transaction whose blockhash is too old will be rejected.

                                https://docs.solana.com/developing/programming-
                                model/transactions#recent-blockhash

                                A blockhash contains a 32-byte SHA-256 hash. It is used to indicate
                                when a client last observed the ledger. Validators will reject
                                transactions when the blockhash is too old.

                                https://docs.solana.com/developing/programming-
                                model/transactions#blockhash-format

                                Source Code
                                Calculation of blockhash as part of transaction creation.
                                https://github.com/solana-
                                labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L656

                                2. The Leader Validator processes the disbursement amount on
                                receipt of the voting transaction.

                                Before any transaction instructions are processed, the fee payer
                                account balance will be deducted to pay for transaction fees. If the fee
                                payer balance is not sufficient to cover transaction fees, the
                                transaction will be dropped by the cluster. If the balance was
                                sufficient, the fees will be deducted whether the transaction is
                                processed successfully or not. In fact, if any of the transaction
                                instructions return an error or violate runtime restrictions, all account
                                changes *except* the transaction fee deduction will be rolled back.

                                https://solanacookbook.com/core-concepts/transactions.html#fees

                                https://jstarry.notion.site/Transaction-Fees-
                                f09387e6a8d84287aa16a34ecb58e239


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                                               Note the following.

                                               The description of the patent allows for the terms to define a point in
                                               time ‘on or after the expiration timestamp or at a time or upon an
                                               event as defined by the terms…’. In this instance the event is the
                                               reception of the transaction for processing.

                                               Patent references:
                                               [0123] 22. On or after the expiration timestamp or at a time or upon
                                               an event as defined by the terms, and before the lock time of the
                                               complete refund transaction record, …

                                               [0186] 21. On or after the expiration timestamp, or at a time or upon
                                               an event as defined by the terms, and before the lock time of the
                                               complete refund transaction record, ...

         •   a computer processor coupled to   The hardware device running the App (First Client as part of the
             the memory and the network        Computing Device) such as a computer or mobile phone.
             interface, the computer
             processor configured to:
    i.       read the first private key from   The hardware device running the Coinbase Wallet software on a
             the memory;                       computer or mobile phone. Coinbase Wallet app requesting
                                               verification to access (read) the private key to authorize transaction.




                                               RPC Source Code
                                               https://github.com/solana-
                                               labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L654



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                                            The validator identity is a system account that is used to pay for all the
                                            vote transaction fees submitted to the vote account. Because the
                                            validator is expected to vote on most valid blocks it receives, the
                                            validator identity account is frequently (potentially multiple times per
                                            second) signing transactions and paying fees. For this reason the
                                            validator identity keypair must be stored as a "hot wallet" in a keypair
                                            file on the same system the validator process is running.

                                            Validator Code Reference
                                            https://github.com/solana-
                                            labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L17
   ii.   compute a first cryptographic      The hardware device running the Coinbase Wallet software on a
         signature from the first private   computer or mobile phone. Coinbase Wallet app requesting
         key;                               verification to access (read) the private key calculate a signature to
                                            authorize transaction.




                                            RPC Source Code
                                            https://github.com/solana-
                                            labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L129
                                            https://github.com/solana-
                                            labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L813
                                            https://github.com/solana-
                                            labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L654


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                                           The validator identity is a system account that is used to pay for all the
                                           vote transaction fees submitted to the vote account. Because the
                                           validator is expected to vote on most valid blocks it receives, the
                                           validator identity account is frequently (potentially multiple times per
                                           second) signing transactions and paying fees. For this reason the
                                           validator identity keypair must be stored as a "hot wallet" in a keypair
                                           file on the same system the validator process is running.

                                           Validator Code Reference
                                           https://github.com/solana-
                                           labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L39
   iii.   create an inchoate data record   The First Client as part of the Computing Device creates a transaction
          comprising:                      message to be sent to the Solana Network. RPC JSON API calls are
                                           defined to allow interaction with the Solana Network. The App
                                           constructs the following RPC message.

                                           sendTransaction

                                           Object - The transaction object
                                               1. header - The message header contains three unsigned 8-bit
                                                    values. The first value is the number of required signatures
                                                    in the containing transaction. The second value is the
                                                    number of those corresponding account addresses that are
                                                    read-only. The third value in the message header is the
                                                    number of read-only account addresses not requiring
                                                    signatures.
                                               2. Account addresses - The addresses that require signatures
                                                    appear at the beginning of the account address array, with
                                                    addresses requesting write access first and read-only
                                                    accounts following. The addresses that do not require
                                                    signatures follow the addresses that do, again with read-
                                                    write accounts first and read-only accounts following.
                                               3. Blockhash - A blockhash contains a 32-byte SHA-256 hash.
                                                    It is used to indicate when a client last observed the ledger.
                                                    Validators will reject transactions when the blockhash is too
                                                    old
                                               4. Instructions - An instruction contains a program id index,
                                                    followed by a compact-array of account address indexes,
                                                    followed by a compact-array of opaque 8-bit data. The
                                                    program id index is used to identify an on-chain program
                                                    that can interpret the opaque data. The program id index is
                                                    an unsigned 8-bit index to an account address in the
                                                    message's array of account addresses. The account address
                                                    indexes are each an unsigned 8-bit index into that same
                                                    array.

                                           Official Documentation Reference
                                           https://docs.solana.com/developing/programming-model/transactions
                                           https://docs.solana.com/developing/clients/jsonrpc-
                                           api#sendtransaction

                                           RPC Code Reference
                                           https://github.com/solana-
                                           labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L128


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                                         https://github.com/solana-
                                         labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L640
                                         https://github.com/solana-
                                         labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L648

                                         Validator Code Reference
                                         https://github.com/solana-
                                         labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L11
    •   a commit input for receiving a   The commit input is the primary account address which will pay the
        commit data from a commit        transaction fee.
        transaction;
                                         Transactions are required to have at least one account which has
                                         signed the transaction and is writable. Writable signer accounts are
                                         serialized first in the list of transaction accounts and the first of these
                                         accounts is always used as the "fee payer".

                                         Note that the Client can use the JSON RPC API to query the cluster
                                         for the current fee parameters. (getFeeForMessage) to determine
                                         the total fee payable to ensure that the paying account has the required
                                         amount to pay.

                                         Official Documentation Reference
                                         https://docs.solana.com/developing/clients/jsonrpc-
                                         api#getfeeformessage

                                         RPC Code Reference
                                         The transaction sent to the RPC Client contains the Transaction
                                         generated by the App.
                                         https://github.com/solana-
                                         labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L128
                                         https://github.com/solana-
                                         labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L640

                                         ____________

                                         The commit input is the primary account address which will pay the
                                         transaction fee.

                                         The validator identity is a system account that is used to pay for all the
                                         vote transaction fees submitted to the vote account. Because the
                                         validator is expected to vote on most valid blocks it receives, the
                                         validator identity account is frequently (potentially multiple times per
                                         second) signing transactions and paying fees. For this reason the
                                         validator identity keypair must be stored as a "hot wallet" in a keypair
                                         file on the same system the validator process is running.
                                         https://docs.solana.com/running-validator/vote-accounts#validator-
                                         identity

                                         Validator Code Reference
                                         https://github.com/solana-
                                         labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L24
                                         https://github.com/solana-
                                         labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L31



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    •   one or more output data               The output data included in the transaction message is as follows.
        obtained from at least one of the
        first principal data or the second        •    The list of signatures in the message. The Validator leader
        principal data, and a value data
        from at least one of the first data
                                                       will use this, along with the clusters current lampoons per
        source or the second data                      signature, to calculate the total transaction fee.
        source; and
                                              Official Documentation Reference
                                              https://docs.solana.com/implemented-proposals/transaction-
                                              fees#congestion-driven-fees

                                              RPC Code Reference
                                              The transaction sent to the RPC Client contains the Transaction
                                              generated by the App.
                                              https://github.com/solana-
                                              labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L128
                                              https://github.com/solana-
                                              labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L640

                                              Validator Code Reference
                                              https://github.com/solana-
                                              labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L36
                                              https://github.com/solana-
                                              labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L38
                                              https://github.com/solana-
                                              labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L39

    •   the first cryptographic signature;    The hardware device running the Coinbase Wallet software on a
        and                                   computer or mobile phone. Coinbase Wallet app requesting
                                              verification to access (read) the private key to calculate a signature to
                                              authorize transaction.




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                                               The Coinbase Wallet creates a transaction message to be sent to the
                                               Coinbase Solana Node. RPC JSON API calls are defined to allow
                                               interaction with the Solana Nodes. The Coinbase Wallet constructs the
                                               following RPC message.

                                               sendTransaction

                                               Submits a signed transaction to the cluster for processing.

                                               Before submitting, the following preflight checks are performed:

                                               The transaction signatures are verified
                                               The transaction is simulated against the bank slot specified by the
                                               preflight commitment. On failure an error will be returned. Preflight
                                               checks may be disabled if desired. It is recommended to specify the
                                               same commitment and preflight commitment to avoid confusing
                                               behavior.
                                               The returned signature is the first signature in the transaction, which is
                                               used to identify the transaction (transaction id). This identifier can be
                                               easily extracted from the transaction data before submission.

                                               Official Documentation Reference
                                               https://docs.solana.com/developing/clients/jsonrpc-
                                               api#sendtransaction
                                               https://docs.solana.com/developing/programming-
                                               model/transactions#signatures
                                               https://solanacookbook.com/core-concepts/transactions.html#fees

                                               RPC Code Reference
                                               https://github.com/solana-
                                               labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L129
                                               https://github.com/solana-
                                               labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L813
                                               https://github.com/solana-
                                               labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L654

                                               Validator Code Reference
                                               https://github.com/solana-
                                               labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L38
                                               https://github.com/solana-
                                               labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L39

   iv.   publish the inchoate data record      Given the Computing Device and the First Client are the same device,
         to at least one of the first client   this clause is not applicable. The First Client as part of the Computing
         device or the second client           Device does create a transaction message (where the signed inchoate
         device,                               transaction record = complete transaction record).

                                               Official Documentation Reference
                                               https://docs.solana.com/developing/clients/jsonrpc-
                                               api#sendtransaction

                                               RPC Source Code



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                                                   https://github.com/solana-
                                                   labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L935

                                                   Validator Code Reference
                                                   https://github.com/solana-
                                                   labs/solana/blob/master/gossip/src/cluster_info.rs#L1087
 wherein the decentralized digital currency        A SOL is the name of Solana's native token, which can be passed to
 comprises a distributed ledger that enables       nodes in a Solana cluster in exchange for running an on-chain program
 processing the transaction between the first      or validating its output. The system may perform micropayments of
 client device and the second client device        fractional SOLs, which are called lamports.
 without the need for a trusted central
 authority,
                                                   https://docs.solana.com/introduction#what-are-sols
 wherein the inchoate data record is used by       The Coinbase Wallet creates a transaction message to be sent to the
 at least one of the first client device or the    Coinbase Solana Node. RPC JSON API calls are defined to allow
 second client device to create a complete         interaction with the Solana Nodes.
 data record and to create the transaction by
 broadcasting the complete data record for
 transmitting and receiving among network          Only the First Client is required to sign the transaction and so once
 participants in the computer network for          signed the RPC JSON API call ‘sendTransaction’ is considered to be
 recording in the distributed ledger,              a complete data record and is broadcast to the Leader Validator via the
                                                   Coinbase Solana Node.

                                                   Official Documentation Reference
                                                   https://docs.solana.com/developing/clients/jsonrpc-
                                                   api#sendtransaction

                                                   RPC Source Code
                                                   https://github.com/solana-
                                                   labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L935

                                                   Validator Code Reference
                                                   https://github.com/solana-
                                                   labs/solana/blob/master/gossip/src/cluster_info.rs#L1087

 wherein at least one of the first client device   The Coinbase Wallet creates a transaction message to be sent to the
 or the second client device signs the             Coinbase Solana Node. RPC JSON API calls are defined to allow
 inchoate data record and saves a copy of the      interaction with the Solana Nodes.
 inchoate data record on at least one of the
 first client device or the second client
 device; and                                       Only the First Client is required to sign the transaction and so once
                                                   signed the RPC JSON API call ‘sendTransaction’ is considered to be
                                                   a complete data record and is broadcast to the Leader Validator via the
                                                   Coinbase Solana Node.

                                                   Official Documentation Reference
                                                   https://docs.solana.com/developing/clients/jsonrpc-
                                                   api#sendtransaction

                                                   RPC Source Code
                                                   https://github.com/solana-
                                                   labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L935

                                                   Validator Code Reference
                                                   https://github.com/solana-
                                                   labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L38



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                                                  https://github.com/solana-
                                                  labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L39

                                                  ___________________

                                                  A copy of the inchoate data record is (optionally, as described in pgs
                                                  11 and 15 of the general description text of the patent) saved on the
                                                  Leader Validator node.

 wherein the at least one of the computing        The Coinbase Wallet shows the transaction history.
 device, the first client device, or the second
 client device verifies the recording of the
 complete data record in the distributed
 ledger by observing an external state.




                                                  The Coinbase Wallet shows the transaction details along with a link to
                                                  the Solana explorer.




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EXHIBIT 3




 Claim Chart U.S. Patent No. 11,196,566 (the “’566 Patent”) Coinbase
 Claim 2                                 Coinbase Products & Services
                                         Payment to Validator Node from a transaction (that incurs a
                                         transaction fee) on the Solana Network.
 The device of claim 1, where:           The following disbursements are made.
 the computer processor is configured        1. The transaction fee is withdrawn from the senders account by
 to obtain the one or more output data            the Lead Validator as part of processing the transaction and
 based on:                                        (likely) inclusion into the Block.
                                             2. The transaction fees collected from all processed transactions
                                                  are banked for disbursement at the end of the epoch.
                                             3. The transaction fees collected are disbursed to the Lead
                                                  Validators vote account based on the accounts commission
                                                  rate with the remainder of the rewards being distributed to all
                                                  of the stake accounts delegated to that vote account,
                                                  proportional to the active stake weight of each stake account.

 the first principal data; and           Before any transaction instructions are processed, the fee payer account
 the value data from the first data      balance will be deducted to pay for transaction fees. If the fee payer
 source.                                 balance is not sufficient to cover transaction fees, the transaction will be
                                         dropped by the cluster. If the balance was sufficient, the fees will be
                                         deducted whether the transaction is processed successfully or not. In
                                         fact, if any of the transaction instructions return an error or violate
                                         runtime restrictions, all account changes *except* the transaction fee
                                         deduction will be rolled back.

                                         https://solanacookbook.com/core-concepts/transactions.html#fees

                                         https://jstarry.notion.site/Transaction-Fees-
                                         f09387e6a8d84287aa16a34ecb58e239


                                         The collected transaction fees (of those transactions included in the
                                         Block) by the Lead Validator are:
                                             1. burnt based on the genesis burnt rate (second data source)
                                             2. written to the Validators vote account for disbursement.

                                         Source Code – Calculation of fee for the individual transaction using the
                                         first Data Source
                                         https://github.com/solana-
                                         labs/solana/blob/master/runtime/src/bank.rs#L4805
                                         https://github.com/solana-
                                         labs/solana/blob/master/runtime/src/bank.rs#L4718

                                         Source Code – Withdraw transaction fee from senders account
                                         https://github.com/solana-
                                         labs/solana/blob/master/runtime/src/bank.rs#L4822
                                         https://github.com/solana-
                                         labs/solana/blob/master/runtime/src/bank.rs#L6256



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                             Source Code – Burning of a percentage of all fees collected using the
                             second Data Source
                              https://github.com/solana-
                             labs/solana/blob/master/runtime/src/bank.rs#L3280
                             https://github.com/solana-
                             labs/solana/blob/master/runtime/src/bank.rs#L3284




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EXHIBIT 3



                 Claim Chart U.S. Patent No. 11,196,566 (the “’566 Patent”) Coinbase
 Claim 7                      Coinbase Products & Services
 A system for processing      Payment to Validator Node from a transaction (that incurs a transaction fee)
 a transaction between a      on the Solana Network.
 first client device and a
 second client device via
 a transfer mechanism the
 system comprising a
 computing device, the
 first client device, the
 second client device, and
 the transfer mechanism.

 7. a. the computing device   The First Client, as part of the Facilitator, need a computer hardware/software combination
 comprising:                  to run, namely:
     i.     a first memory         • Memory (RAM), used in the computing device (such as a computer or mobile
            comprising for
            storing a first
                                        phone).
            asymmetric key         • Transaction record sector (stores transactions that haven't been submitted to the
            pair, the first             blockchain yet) kept via the crypto software wallets
            asymmetric key
            pair comprising   Where the First Client runs Coinbase Wallet software to sign transactions, contains:
            a first private
            key and a first      • a first key pair sector which is generated and stored in the wallet software
            public key;          • The asymmetric key pair generated and/or stored consists of a first private key
                                      and a first public key – all found and manipulated via the wallet software.
                                 • The wallet software connects via the public key or the key pair, and authorizes
                                      (signs) the transaction with the private key of the key pair.

                              Where the First Client is a Coinbase Solana Node Client Browser or Command Line
                              Interface to transaction creation, contains:
                                   • a first key pair sector which is generated and stored on the device
                                   • The asymmetric key pair stored consists of a first private key and a first public
                                       key.

                              Where the First Client utilises Coinbase Private key management in order to sign
                              transactions, contains:
                                   • a first key pair sector which is stored in the key management vault/software
                                   • The asymmetric key pair generated and/or stored consists of a first private key
                                       and a first public key – all found and manipulated via the key management
                                       vault/software.
                                   • The key management vault/software connects via the public key or the key pair,
                                       and authorizes (signs) the transaction with the private key of the key pair.

                              Where the First Client is a Coinbase Validator Node with a vote account key pair to sign
                              voting transactions contains
                                   • a first key pair sector which is generated and stored on the device
                                   • The asymmetric key pair stored consists of a first private key and a first public
                                        key
                              Source Code
                              https://github.com/solana-labs/solana/blob/master/validator/src/main.rs#L2999



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   ii.   a first network    The Coinbase Wallet product serves as the network interface usage implementation, we
         interface for      see the following.
         receiving terms,
         the terms          The app prompts you to connect to “Connect my Coinbase Wallet”
         comprising:
                            Note that the mobile data interface is set to airplane mode, which disables all network data
                            i/o coming into and out of the mobile device (reference the ‘plane’ icon in the upper RHS
                            corner).




                            Upon attempting to “Connect my Coinbase…” with the data interface disabled, a blank
                            screen results, as follows:




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                    The Coinbase Wallet app interfaces with nodes and servers in the Coinbase infrastructure
                    to query information or connect to a client. To fetch data like user identification
                    verification credentials, token swap rates, token balances, and other information from the
                    Coinbase infrastructure servers, nodes and smart contracts, such infrastructure responds to
                    queries through the Coinbase Wallet app, the network interface,
                    Once the network interface is enabled, as shown by the wi-fi and cellular service icons in
                    the upper right-hand corner that have replaced the airplane mode symbol, the interface for
                    entering and submitting user credentials is available after querying Coinbase’s servers.
                    The interface actually states that “you will be redirected to https://wallet.coinbase.com
                    (their website) after the authorization”




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                    Once the Coinbase Wallet app is connected, it is able to query Coinbase infrastructure and
                    populate the app with a plethora of information.

                    Choosing the “Send” option as an illustration, we can opt to send SOL to any address.




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                    The Coinbase Wallet app populates the app with prices, quantities and transaction fees.




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                    Note below, with the airplane mode turned on to deprive the Coinbase Wallet app access
                    to the Coinbase infrastructure results in a very different outcome when one attempts to
                    perform the send transaction




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                    An error dialog is given after the “continue” button is depressed.




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    A.   at least one of a   First principle data
         first principal     A transaction fee provided by the Client to pay for sending a transaction.
         data or a second
         principal data;
                             Note: Before any transaction instructions are processed, the fee payer account balance will
                             be deducted to pay for transaction fees. If the fee payer balance is not sufficient to cover
                             transaction fees, the transaction will be dropped by the cluster. If the balance was
                             sufficient, the fees will be deducted whether the transaction is processed successfully or
                             not. In fact, if any of the transaction instructions return an error or violate runtime
                             restrictions, all account changes *except* the transaction fee deduction will be rolled back.

                             https://solanacookbook.com/core-concepts/transactions.html#fees

                             https://jstarry.notion.site/Transaction-Fees-f09387e6a8d84287aa16a34ecb58e239

    B.   a reference to at   First data source
         least one of a      The current lampoons per signature
         first data source
         or a second data
         source; and
                             Each validator uses signatures per slot (SPS) to estimate network congestion and SPS
                             target to estimate the desired processing capacity of the cluster. The validator learns the
                             SPS target from the genesis config, whereas it calculates SPS from recently processed
                             transactions. The genesis config also defines a target lamports_per_signature, which is the
                             fee to charge per signature when the cluster is operating at SPS target.
                             https://docs.solana.com/implemented-proposals/transaction-fees#congestion-driven-fees

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                         Note that the Client uses the JSON RPC API to query the cluster for the current fee
                         parameters. getFeeForMessage
                         https://docs.solana.com/developing/clients/jsonrpc-api#getfeeformessage

                         Second data source
                         The portion of the transaction fee payable to the Leader. 50% of each transaction fee is
                         burned, with the remaining fee retained by the validator that processes the transaction.
                         https://docs.solana.com/inflation/terminology#effective-inflation-rate-



    C.   an expiration   1. The transaction needs to be performed within a timeframe.
         timestamp,
                         A transaction includes a recent blockhash to prevent duplication and to give transactions
                         lifetimes. Any transaction that is completely identical to a previous one is rejected, so
                         adding a newer blockhash allows multiple transactions to repeat the exact same action.
                         Transactions also have lifetimes that are defined by the blockhash, as any transaction
                         whose blockhash is too old will be rejected.

                         https://docs.solana.com/developing/programming-model/transactions#recent-blockhash

                         A blockhash contains a 32-byte SHA-256 hash. It is used to indicate when a client last
                         observed the ledger. Validators will reject transactions when the blockhash is too old.

                         https://docs.solana.com/developing/programming-model/transactions#blockhash-format

                         Source Code
                         Calculation of blockhash as part of transaction creation.
                         https://github.com/solana-
                         labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L656

                         2. The Leader Validator processes the disbursement amount on receipt of the voting
                         transaction.

                         Before any transaction instructions are processed, the fee payer account balance will be
                         deducted to pay for transaction fees. If the fee payer balance is not sufficient to cover
                         transaction fees, the transaction will be dropped by the cluster. If the balance was
                         sufficient, the fees will be deducted whether the transaction is processed successfully or
                         not. In fact, if any of the transaction instructions return an error or violate runtime
                         restrictions, all account changes *except* the transaction fee deduction will be rolled
                         back.

                         https://solanacookbook.com/core-concepts/transactions.html#fees

                         https://jstarry.notion.site/Transaction-Fees-f09387e6a8d84287aa16a34ecb58e239

                         Note the following.

                         The description of the patent allows for the terms to define a point in time ‘on or after the
                         expiration timestamp or at a time or upon an event as defined by the terms…’. In this
                         instance the event is the reception of the transaction for processing.

                         Patent references:

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                              [0123] 22. On or after the expiration timestamp or at a time or upon an event as defined
                              by the terms, and before the lock time of the complete refund transaction record, …

                              [0186] 21. On or after the expiration timestamp, or at a time or upon an event as defined
                              by the terms, and before the lock time of the complete refund transaction record, ...

   iii.    a first computer   The hardware device running the App (First Client as part of the Facilitator) such as a
           processor          computer or mobile phone.
           coupled to the
           first memory
           and the first
           network
           interface, the
           first computer
           processor
           configured to:
      A.   read the first     The hardware device running the Coinbase Wallet software on a computer or mobile
           private key from   phone. Coinbase Wallet app requesting verification to access (read) the private key to
           the first memory   authorize transaction.




                              RPC Source Code
                              https://github.com/solana-
                              labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L654

                              Validator Code Reference

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                              https://github.com/solana-
                              labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L17
    B.   compute a first      The hardware device running the Coinbase Wallet software on a computer or mobile
         cryptographic        phone. Coinbase Wallet app requesting verification to access (read) the private key to
         signature from       calculate a signature to authorize transaction.
         the first private
         key;




                              RPC Source Code
                              https://github.com/solana-
                              labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L129
                              https://github.com/solana-
                              labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L813
                              https://github.com/solana-
                              labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L654

                              Validator Code Reference
                              https://github.com/solana-
                              labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L39
    C.   create an inchoate      The App (First Client as part of the Facilitator) creates a transaction message to be sent
         data record             to the Solana Network. RPC JSON API calls are defined to allow interaction with the
         comprising:             Solana Network. The App constructs the following RPC message.

                                 sendTransaction

                                 Object - The transaction object

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                                  1.   header - The message header contains three unsigned 8-bit values. The first
                                       value is the number of required signatures in the containing transaction. The
                                       second value is the number of those corresponding account addresses that are
                                       read-only. The third value in the message header is the number of read-only
                                       account addresses not requiring signatures.
                                  2.   Account addresses - The addresses that require signatures appear at the
                                       beginning of the account address array, with addresses requesting write
                                       access first and read-only accounts following. The addresses that do not
                                       require signatures follow the addresses that do, again with read-write
                                       accounts first and read-only accounts following.
                                  3.   Blockhash - A blockhash contains a 32-byte SHA-256 hash. It is used to
                                       indicate when a client last observed the ledger. Validators will reject
                                       transactions when the blockhash is too old
                                  4.   Instructions - An instruction contains a program id index, followed by a
                                       compact-array of account address indexes, followed by a compact-array of
                                       opaque 8-bit data. The program id index is used to identify an on-chain
                                       program that can interpret the opaque data. The program id index is an
                                       unsigned 8-bit index to an account address in the message's array of account
                                       addresses. The account address indexes are each an unsigned 8-bit index into
                                       that same array.

                             Official Documentation Reference
                             https://docs.solana.com/developing/programming-model/transactions
                             https://docs.solana.com/developing/clients/jsonrpc-api#sendtransaction

                             RPC Code Reference
                             https://github.com/solana-
                             labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L128
                             https://github.com/solana-
                             labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L640
                             https://github.com/solana-
                             labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L648

                             Validator Code Reference
                             https://github.com/solana-
                             labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L11
    I.   a commit input    The commit input is the primary account address which will pay the transaction fee.
         for receiving a
         commit data
                           Transactions are required to have at least one account which has signed the transaction
         from a commit
         transaction;      and is writable. Writable signer accounts are serialized first in the list of transaction
                           accounts and the first of these accounts is always used as the "fee payer".

                           Note that the Client can use the JSON RPC API to query the cluster for the current fee
                           parameters. (getFeeForMessage) to determine the total fee payable to ensure that the
                           paying account has the required amount to pay.
                           https://docs.solana.com/developing/clients/jsonrpc-api#getfeeformessage

                           RPC Code Reference
                           The transaction sent to the RPC Client contains the Transaction generated by the App.
                           https://github.com/solana-
                           labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L128
                           https://github.com/solana-
                           labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L640

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                              The commit input is the primary account address which will pay the transaction fee.

                              The validator identity is a system account that is used to pay for all the vote transaction
                              fees submitted to the vote account. Because the validator is expected to vote on most valid
                              blocks it receives, the validator identity account is frequently (potentially multiple times
                              per second) signing transactions and paying fees. For this reason the validator identity
                              keypair must be stored as a "hot wallet" in a keypair file on the same system the validator
                              process is running.
                              https://docs.solana.com/running-validator/vote-accounts#validator-identity

                              Validator Code Reference
                              https://github.com/solana-
                              labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L24
                              https://github.com/solana-
                              labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L31

    II.   one or more         The output data included in the transaction message is as follows.
          outputs obtained
          from at least one
                                  •    The list of signatures in the message. The Validator leader will use this, along
          of the first
          principal data               with the clusters current lampoons per signature, to calculate the total
          or the second                transaction fee.
          principal data,
          and a value data    Official Documentation Reference
          from at least one   https://docs.solana.com/implemented-proposals/transaction-fees#congestion-driven-fees
          of the first data
          source or the       RPC Code Reference
          second data
                              The transaction sent to the RPC Client contains the Transaction generated by the App.
          source; and;
                              https://github.com/solana-
                              labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L128
                              https://github.com/solana-
                              labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L640

                              Validator Code Reference
                              https://github.com/solana-
                              labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L36
                              https://github.com/solana-
                              labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L38
                              https://github.com/solana-
                              labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L39
   III.   The first           The hardware device running the Coinbase Wallet software on a computer or mobile
          cryptographic       phone. Coinbase Wallet app requesting verification to access (read) the private key to
          signature; and      calculate a signature to authorize transaction.




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                    The Coinbase Wallet creates a transaction message to be sent to the Coinbase Solana
                    Node. RPC JSON API calls are defined to allow interaction with the Solana Nodes. The
                    Coinbase Wallet constructs the following RPC message.

                    sendTransaction

                    Submits a signed transaction to the cluster for processing.

                    Before submitting, the following preflight checks are performed:

                    The transaction signatures are verified
                    The transaction is simulated against the bank slot specified by the preflight commitment.
                    On failure an error will be returned. Preflight checks may be disabled if desired. It is
                    recommended to specify the same commitment and preflight commitment to avoid
                    confusing behavior.
                    The returned signature is the first signature in the transaction, which is used to identify the
                    transaction (transaction id). This identifier can be easily extracted from the transaction data
                    before submission.

                    Official Documentation Reference
                    https://docs.solana.com/developing/clients/jsonrpc-api#sendtransaction
                    https://docs.solana.com/developing/programming-model/transactions#signatures
                    https://solanacookbook.com/core-concepts/transactions.html#fees

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                               RPC Code Reference
                               https://github.com/solana-
                               labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L129
                               https://github.com/solana-
                               labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L813
                               https://github.com/solana-
                               labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L654

                               Validator Code Reference
                               https://github.com/solana-
                               labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L38
                               https://github.com/solana-
                               labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L39

      D.   publish the         Given the Facilitator and the First Client are the same device, this clause is not necessarily
           inchoate data       applicable. The App (First Client as part of the Facilitator) does create a transaction
           record to at        message (where the signed inchoate transaction record = complete transaction record) to
           least one of the    the Solana Network and the Second Client.
           first client
           device or the
           second client       Official Documentation Reference
           device;;            https://docs.solana.com/developing/clients/jsonrpc-api#sendtransaction

                               RPC Source Code
                               https://github.com/solana-
                               labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L935

 7. b. the first client        The Facilitator and the First Client are both considered to be the same device; namely the
 comprises:                    App or mechanism that is using the Solana Network by sending a transaction. Thus, the
     i.     a second           clause is not assessable as it is covered by the above clauses 7a.i.
            memory for
            storing a second
            asymmetric key
            pair, the second
            asymmetric key
            pair comprising
            a second private
            key and a
            second public
            key.
    ii.     a second           The Facilitator and the First Client are both considered to be the same device; namely the
            network            App or mechanism that is using the Solana Network by sending a transaction. Thus, the
            interface; and     clause is not assessable as it is covered by the above clauses 7a.ii.

   iii.    a second            The Facilitator and the First Client are both considered to be the same device; namely the
           computer            App or mechanism that is using the Solana Network by sending a transaction. Thus, the
           processor
                               clause is not assessable as it is covered by the above clauses 7a.iii.A-E.
           coupled to the
           second memory
           and the second
           network
           interface, the
           second
           computer
           processor
           configured to:



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          A.   read the second    The Facilitator and the First Client are both considered to be the same device; namely the
               private key from   App or mechanism that is using the Solana Network by sending a transaction. Thus, the
               the second
                                  clause is not assessable as it is covered by the above clauses 7a.iii.A.
               memory;

          B.   read the           The Facilitator and the First Client are both considered to be the same device; namely the
               inchoate data      App or mechanism that is using the Solana Network by sending a transaction. Thus, the
               record
                                  clause is not assessable.

          C.   compute a          The Facilitator and the First Client are both considered to be the same device; namely the
               second             App or mechanism that is using the Solana Network by sending a transaction. Thus, the
               cryptographic
                                  clause is not assessable as it is covered by the above clauses 7a.iii.B.
               signature from
               the second
               private key;
          D.   create a           The Facilitator and the First Client are both considered to be the same device; namely the
               complete data      App or mechanism that is using the Solana Network by sending a transaction. Thus, the
               record
                                  clause is not assessable as it is covered by the above clauses 7a.iii.C.
               comprising:
     I.        the commit
               input;
    II.        the output data;   The Facilitator and the First Client are both considered to be the same device; namely the
                                  App or mechanism that is using the Solana Network by sending a transaction. Thus, the
                                  clause is not assessable as it is covered by the above clauses 7a.iii.C.

   III.        the first          The Facilitator and the First Client are both considered to be the same device; namely the
               cryptographic      App or mechanism that is using the Solana Network by sending a transaction. Thus, the
               signature, and
                                  clause is not assessable as it is covered by the above clauses 7a.iii.C.

   IV.         the second         The Facilitator and the First Client are both considered to be the same device; namely the
               cryptographic      App or mechanism that is using the Solana Network by sending a transaction. Thus, the
               signature,
                                  clause is not assessable as it is covered by the above clauses 7a.iii.C.

          E.   create a           The Coinbase Wallet creates a transaction message to be sent to the Coinbase Solana
               transaction by     Node. RPC JSON API calls are defined to allow interaction with the Solana Nodes.
               submitting the
               complete data
               record to the
                                  Only the First Client is required to sign the transaction and so once signed the RPC JSON
               transfer           API call ‘sendTransaction’ is considered to be a complete data record and is broadcast to
               mechanism;         the Leader Validator via the Coinbase Solana Node.

                                  Official Documentation Reference
                                  https://docs.solana.com/developing/clients/jsonrpc-api#sendtransaction

                                  RPC Source Code
                                  https://github.com/solana-
                                  labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L935

                                  ___________________

                                  The Leader Validator, as the second client, uses the transaction (completed disbursement
                                  transaction record) and other transactions in the TX Pool to create a Block Transaction.
                                  The Block is broadcast to all network participants for consensus and recording to the
                                  distributed ledger.




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                              Clients send transactions to any validator's Transaction Processing Unit (TPU) port. If the
                              node is in the validator role, it forwards the transaction to the designated leader. If in the
                              leader role, the node bundles incoming transactions, timestamps them creating an entry,
                              and pushes them onto the cluster's data plane. Once on the data plane, the transactions
                              are validated by validator nodes, effectively appending them to the ledger.

                              https://docs.solana.com/cluster/overview#sending-transactions-to-a-cluster

 7. c. the second client      The Validator Note (including the Leader Validator) requires an account (with key pair) in
 comprises:                   order to sign the produced blocks.
     i.     a third memory
            for storing a
            third
                              7 System Architecture
            asymmetric key    7.1 Components
            pair, the third   7.1.1 Leader, Proof of History generator
            asymmetric key    The Leader is an elected Proof of History generator. It consumes arbitrary user
            pair comprising   transactions and outputs a Proof of History sequence of all the transactions that
            a third private   guarantee a unique global order in the system. After each batch of transactions the Leader
            key and a third   outputs a signature of the state that is the result of running the transactions in that order.
            public key;       This signature is signed with the identity of the Leader.

                              https://cryptorating.eu/whitepapers/Solana/solana-whitepaper-en.pdf

                              Vote Authority#
                              The vote authority keypair is used to sign each vote transaction the validator node wants
                              to submit to the cluster. This doesn't necessarily have to be unique from the validator
                              identity, as you will see later in this document. Because the vote authority, like the
                              validator identity, is signing transactions frequently, this also must be a hot keypair on the
                              same file system as the validator process.

                              https://docs.solana.com/running-validator/vote-accounts#vote-authority

                              Source Code
                              https://github.com/solana-labs/solana/blob/master/validator/src/main.rs#L2999

   ii.    a third network     The Validator Nodes require network interface in order for them to participate in Block
          interface; and      Production and network consensus.

                              Networking#
                              Internet service should be at least 300Mbit/s symmetric, commercial. 1GBit/s preferred

                              Port Forwarding#
                              The following ports need to be open to the internet for both inbound and outbound

                              It is not recommended to run a validator behind a NAT. Operators who choose to do so
                              should be comfortable configuring their networking equipment and debugging any
                              traversal issues on their own.

                              Required#
                              8000-10000 TCP/UDP - P2P protocols (gossip, turbine, repair, etc). This can be limited
                              to any free 12 port range with --dynamic-port-range

                              https://docs.solana.com/running-validator/validator-reqs#networking



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   iii.      a third computer     The Solana Network Node running the Validator software.
             processor
             coupled to the       https://docs.solana.com/running-validator/validator-reqs
             third memory
             and the third
             network
             interface, the
             third computer
             processor
             configured to
             read the third
             private key from
             the third
             memory; and
 wherein the at least one of      The Coinbase Wallet creates a transaction message to be sent to the Coinbase Solana
 the first client device or the   Node. RPC JSON API calls are defined to allow interaction with the Solana Nodes.
 second client device signs
 the inchoate data record
 and saves a copy of the
                                  Only the First Client is required to sign the transaction and so once signed the RPC JSON
 inchoate data record on at       API call ‘sendTransaction’ is considered to be a complete data record and is broadcast to
 least one of the first client    the Leader Validator via the Coinbase Solana Node.
 device or the second client
 device.                          Official Documentation Reference
                                  https://docs.solana.com/developing/clients/jsonrpc-api#sendtransaction

                                  RPC Source Code
                                  https://github.com/solana-
                                  labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L935

                                  Validator Code Reference
                                  https://github.com/solana-
                                  labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L38
                                  https://github.com/solana-
                                  labs/solana/blob/master/programs/vote/src/vote_transaction.rs#L39

                                  ___________________

                                  A copy of the inchoate data record is (optionally, as described in pgs 11 and 15 of the
                                  general description text of the patent) saved on the Leader Validator node.

 wherein the transfer             A SOL is the name of Solana's native token, which can be passed to nodes in a Solana
 mechanism comprising a           cluster in exchange for running an on-chain program or validating its output. The system
 decentralized digital            may perform micropayments of fractional SOLs, which are called lamports.
 currency that comprises a
 distributed ledger that
 enables processing the           https://docs.solana.com/introduction#what-are-sols
 transaction between the
 first client device and the
 second client device without
 the need of a trusted central
 authority,
 wherein the transaction is       The Coinbase Wallet creates a transaction message to be sent to the Coinbase Solana
 created by broadcasting the      Node. RPC JSON API calls are defined to allow interaction with the Solana Nodes.
 complete data record for
 transmitting and receiving
 among network participants
                                  Only the First Client is required to sign the transaction and so once signed the RPC JSON
 in the computer network for      API call ‘sendTransaction’ is considered to be a complete data record and is broadcast to
 recording in the distributed     the Leader Validator via the Coinbase Solana Node.
 ledger, and

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                                Official Documentation Reference
                                https://docs.solana.com/developing/clients/jsonrpc-api#sendtransaction

                                RPC Source Code
                                https://github.com/solana-
                                labs/solana/blob/master/client/src/nonblocking/rpc_client.rs#L935

                                Validator Code Reference
                                https://github.com/solana-labs/solana/blob/master/gossip/src/cluster_info.rs#L1087

 wherein at least one of the    The Coinbase Wallet shows the transaction history.
 computer device, the first
 client device, or the second
 client device verifies the
 recording of the complete
 data record in the
 distributed ledger by
 observing an external state




                                The Coinbase Wallet shows the transaction details along with a link to the Solana explorer.




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               Claim Chart U.S. Patent No. 11,196,566 (the “’566 Patent”) Coinbase
 Claim 1                                Coinbase Products & Services
 A computing device for processing      The transfer of a NFT (on the Ethereum network) from one party to
 a transaction between a first client   another.
 device, and a second client device
 via a transfer mechanism, the
 transfer mechanism comprising a
 decentralized digital currency
 The computing device comprising:       The Computing Device | Facilitator consists of:
                                             • the Coinbase (Owned, managed or offered) Ethereum Validator Full
                                                 Nodes; and
                                             • the Coinbase (Owned, managed or offered) Ethereum supporting
                                                 Archive Nodes and Light Nodes; and
                                             • the Coinbase (Ethereum compatible) wallets;
                                        Where both the Coinbase Nodes and the Coinbase Ethereum compatible end
                                        user wallet device are networked to have direct or indirect communication with
                                        each other.

                                        Client Device
                                        The Second Client is the end user device that accepts an offer for an NFT.
                                        The First Client is the end user device that authorises an NFT to be offered for
                                        sale.
                                        Three (3) Client instances have been identified that represent various
                                        implementations that exist.
                                              1. Client is a device running an application that uses a Javascript
                                                 Ethereum Provider API (as per EIP-1193) such as web3.js or
                                                 ethers.js. This device will also use a key storage wallet with EIP-191
                                                 or EIP-712 signing support (such as Metamask/Coinbase Wallet) to
                                                 send an NFT transactions. The use of an EIP-1193 based Ethereum
                                                 Provider API or EIP-191/EIP-712 signing support means the Client
                                                 is considered to be part of the Ethereum Network.
                                                 http://eips/ethereum.org/EIPS/eip-191
                                                 http://eips/ethereum.org/EIPS/eip-712
                                                 http://eips/ethereum.org/EIPS/eip-1193

                                            2.   Client representative of Eth Client Browser or Command Line
                                                 Interface to create or send an NFT. The Client is considered to be
                                                 part of the Ethereum Network.

                                            3.   Client is a device running an application that uses a Javascript
                                                 Ethereum Provider API (as per EIP-1193) such as web3.js or
                                                 ethers.js. This device will also use a key storage wallet. This device
                                                 uses private key management in order to sign transactions

                                        The Patent allows for, and the Claims do not prevent, the Computing System
                                        from being, or including, the Client. This is detailed in the Patent description
                                        [0055].

                                        FIG. 1 (see Figure 16) depicts a typical embodiment for practicing the
                                        invention—especially for use with a distributed transfer mechanism—where the
                                        clients, transfer mechanism, facilitator, and data source are distinct
                                        participants. However, the depicted arrangement is not the only one

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                                  contemplated by the invention. In an alternate embodiment, the facilitator
                                  provides some or all aspects of the transfer mechanism. In another
                                  embodiment, the facilitator comprises some or all aspects of a client. For
                                  example, part or all of a client's data store, the ability to initiate or accept
                                  offers, etc., could be “embedded” in the facilitator, thereby enabling the
                                  facilitator to operate as a client itself (e.g., one controlled by the owners of the
                                  facilitator, or on behalf of a third party who has entrusted control to the
                                  facilitator). In yet another embodiment, the facilitator comprises the data
                                  source. Many configurations are contemplated by the invention are possible,
                                  and will become apparent to one skilled in the art.

                                  In addition, paragraph 0055 reads as follows:

                                  It will become apparent to one skilled in the art that aspects of each of
                                  embodiments above may be commingled. For example, the first client could
                                  transmit the offer to the facilitator, where the second client could find and
                                  retrieve it. As mentioned above, aspects of one or both of the first client and the
                                  second client could coincide with the facilitator allowing many of the above
                                  steps to be omitted as redundant where the facilitator is entrusted to act as a
                                  proxy for or on behalf of one of the first party and the second party. The
                                  facilitator could contain aspects of one of the clients, but not the other, in
                                  which case the extra-facilitator client would optionally independently validate
                                  transaction records it received from the facilitator before signing them, etc. In
                                  such embodiments, the facilitator typically comprises a means to control
                                  aspects of a client it comprises via an interface such as a web-based user
                                  interface (UI), an application programmer's interface (API), etc.
    •   a memory for storing a    The Client device hosting the API software/libraries (used by an App), as part
        first asymmetric key      of the Computing Device, need a computer hardware/software combination to
        pair, the first           run, namely:
        asymmetric key pair
        comprising a first             • Memory (RAM), used in the computing device (such as a computer
        private key and a first             or mobile phone).
        public key;                    • Transaction record sector (stores transactions that haven't been
                                            submitted to the blockchain yet) kept via the crypto software wallets
                                  Where the Client running the App and Wallet software, contains:
                                       • a first key pair sector which is generated and stored in the wallet
                                            software
                                       • The asymmetric key pair generated and/or stored consists of a first
                                            private key and a first public key – all found and manipulated via the
                                            wallet software.
                                       • The wallet software connects via the public key or the key pair, and
                                            authorizes (signs) the transaction with the private key of the key pair.

                                  Where the Client interacts with the Eth Client Browser or Command Line
                                  Interface to transaction creation, contains:
                                       • a first key pair sector which is generated and stored on the device
                                       • The asymmetric key pair stored consists of a first private key and a
                                           first public key.

                                  Where the Client interacts with private Apps with Private key management in
                                  order to sign transactions, contains:
                                      • a first key pair sector which is stored in the key management
                                            vault/software


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                                      •    The asymmetric key pair generated and/or stored consists of a first
                                           private key and a first public key – all found and manipulated via the
                                           key management vault/software.
                                      •    The key management vault/software connects via the public key or
                                           the key pair, and authorizes (signs) the transaction with the private
                                           key of the key pair.

    •   a network interface for   The Client device requires a network interface in order to connect a wallet to
        receiving terms, the      the marketplace to offer the NFT for sale.
        terms comprising:             1. Click on the ‘Sign In’ button top RHS.




                                      2.   Selecting ‘Coinbase Wallet’ prompts the user to connect to the
                                           website.




                                      3.   Attempting to connect without a network interface (as shown with no
                                           Wifi connected).




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                           4.   The user is not connected to the NFT marketplace and is instead
                                requested to connect wallet.




                           5.   When connected to a network the user creates a username and
                                password that is associated from the wallet signature.




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                                   6.   The user is logged in as indicated at the top RHS icon.




            o   at least one   First principle data
                of a first
                principal      The first principle data is the value represented/encapsulated by the NFT.
                data or a
                second
                               Examples include but are not limited to art, gifs, videos, files, documents,
                principal      deeds representing a real world asset, agreements.
                data;




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                                 https://nft.coinbase.com/nft/ethereum/0x0a62be5f3552c4252f50edcd75de3aed
                                 831f9599/439

                                 Second principle data

                                 The seller will define a minimum or market price that they are willing to sell
                                 the NFT for.




                                 https://nft.coinbase.com/nft/ethereum/0x0a62be5f3552c4252f50edcd75de3aed
                                 831f9599/439
            o   a reference      First data source
                to at least
                one of a first   The NFT smart contract which contains a metadata URI link describes the
                data source
                or a second
                                 value.


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             data source;   Metadata URI Link
             and            /// @notice A distinct Uniform Resource Identifier
                            (URI) for a given asset.
                            /// @dev Throws if `_tokenId` is not a valid NFT.
                            URIs are defined in RFC
                            /// 3986. The URI may point to a JSON file that
                            conforms to the "ERC721
                            /// Metadata JSON Schema".
                            function tokenURI(uint256 _tokenId) external view
                            returns (string);
                            https://eips.ethereum.org/EIPS/eip-721

                            Second data source

                            The NFT smart contract which contains a royalty payment fee as per ERC2981
                            for consideration of the disbursement function.

                            Royalty Info
                            /// @notice Called with the sale price to determine
                            how much royalty is owed and to /// whom.
                            /// @param _tokenId - the NFT asset queried for
                            royalty information
                            /// @param _salePrice - the sale price of the NFT
                            asset specified by _tokenId
                            /// @return receiver - address of who should be sent
                            the royalty payment
                            /// @return royaltyAmount - the royalty payment
                            amount for _salePrice
                            function royaltyInfo(
                                   uint256 _tokenId,
                                   uint256 _salePrice
                            ) external view returns (
                                   address receiver,
                                   uint256 royaltyAmount
                            );
                            https://eips.ethereum.org/EIPS/eip-2981




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                                https://nft.coinbase.com/nft/ethereum/0x0a62be5f3552c4252f50edcd75de3aed
                                831f9599/439

                                Indicates that 10% of sale goes to the Creator.
            o   an expiration   The approval by the NFT owner to sell or allow a transfer of ownership of the
                timestamp;      NFT is implied to be infinite or until accepted by a purchaser as no explicit
                                deadline is mandated.

                                The approve function as defined by the EIP-721 is as follows.

                                /// @notice Change or reaffirm the approved address for an
                                NFT
                                /// @dev The zero address indicates there is no approved
                                address. Throws unless `msg.sender` is the current NFT
                                owner, or an authorized operator of the current owner.
                                /// @param _approved The new approved NFT controller
                                /// @param _tokenId The NFT to approve
                                function approve(address _approved, uint256 _tokenId)
                                external payable;




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                        https://nft.coinbase.com/nft/ethereum/0x0a62be5f3552c4252f50edcd75de3aed
                        831f9599/439

                        Shows an expiration with the Listing ending Sep 17 at 11:07am.

                        Note that the expiration period can also be represented through an event which
                        in this case can be a subsequent all to the approve function to change the
                        approved address back to the NFT owner. The description of the patent allows
                        for the terms to define a point in time ‘on or after the expiration timestamp or at
                        a time or upon an event as defined by the terms…’. In this instance the event is
                        the reception of the transaction for processing.

                        Patent references:
                        [0123] 22. On or after the expiration timestamp or at a time or upon an event
                        as defined by the terms, and before the lock time of the complete refund
                        transaction record, …

                        [0186] 21. On or after the expiration timestamp, or at a time or upon an event
                        as defined by the terms, and before the lock time of the complete refund
                        transaction record, ...

                        Also note that there is a draft EIP-4494 which seeks to change this infinite time
                        to a specified deadline expiration. This demonstrates that the ‘approve’
                        function does have a time component albeit undefined and implied.

                        https://eips.ethereum.org/EIPS/eip-4494

                        /// @notice Function to approve by way of owner signature
                        /// @param spender the address to approve
                        /// @param tokenId the index of the NFT to approve the
                        spender on
                        /// @param deadline a timestamp expiry for the permit
                        /// @param sig a traditional or EIP-2098 signature



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                                          function permit(address spender, uint256 tokenId, uint256
                                        deadline, bytes memory sig) external;
         •   a computer processor       The hardware device, hosting the API software/libraries (used by an App), such
             coupled to the memory      as a computer or mobile phone.
             and the network
             interface, the computer
             processor configured
             to:
    i.       read the first private     The hardware device, hosting the API software/libraries (used by an App), such
             key from the memory;       as a computer or mobile phone. The App requires the user to authenticate
                                        themselves via the Wallet private key either before using the App or for sign
                                        individual transactions. The private key is encrypted on the device and
                                        accessed for reading (and subsequently used to calculate a transaction
                                        signature) by the app/wallet from the passcode/protection mechanism of the
                                        app/wallet.




                                        Coinbase Wallet requesting confirmation to access the private key to authorise
                                        and sign the transaction.

   ii.       compute a first            The hardware device, hosting the API software/libraries (used by an App), such
             cryptographic              as a computer or mobile phone. The App requires the user to authenticate
             signature from the first   themselves via a Wallet before using the App.
             private key;




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                                    Coinbase Wallet requesting confirmation to access the private key to authorise,
                                    calculate and sign the transaction.

                                    eth_SignTransaction

                                    web3.eth.signTransaction(transactionObject, address [, callback])
                                    Signs a transaction.

                                    Parameters
                                    Object - The transaction data to sign. See web3.eth.sendTransaction() for more.
                                    String - Address to sign transaction with.
                                    Function - (optional) Optional callback, returns an error object as first
                                    parameter and the result as second.
                                    https://web3js.readthedocs.io/en/v1.5.2/web3-eth.html#signtransaction
   iii.   create an inchoate data   While the Computing Device and the First Client device are the same device,
          record comprising:        the Inchoate Transaction is created for the NFT seller to approve an account
                                    (typically a smart contract account) to transfer ownership of the NFT when the
                                    terms are met.

                                    The App (First Client as part of the Computing Device) creates a transaction
                                    message to be sent to the Ethereum Network. RPC JSON API calls are defined
                                    to allow interaction with the Ethereum network. The App constructs the
                                    following message which is aligned with this standard.

                                    eth_sendTransaction (EIP1559)
                                    Creates new message call transaction or a contract creation, if the data field
                                    contains code.


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                        Object - The transaction object
                            1. from - String|Number: The address for the sending account. Uses the
                                 web3.eth.defaultAccount property, if not specified. Or an address or
                                 index of a local wallet in web3.eth.accounts.wallet.
                            2. to - String: (optional) The destination address of the message, left
                                 undefined for a contract-creation transaction.
                            3. value - Number|String|BN|BigNumber: (optional) The value
                                 transferred for the transaction in wei, also the endowment if it’s a
                                 contract-creation transaction.
                            4. gas - Number: (optional, default: To-Be-Determined) The amount of
                                 gas to use for the transaction (unused gas is refunded).
                            5. gasPrice - Number|String|BN|BigNumber: (optional) The price of
                                 gas for this transaction in wei, defaults to web3.eth.gasPrice.
                            6. type - Number|String|BN|BigNumber: (optional) A positive unsigned
                                 8-bit number between 0 and 0x7f that represents the type of the
                                 transaction.
                            7. maxFeePerGas - Number|String|BN: (optional, defaulted to (2 *
                                 block.baseFeePerGas) + maxPriorityFeePerGas) The maximum fee
                                 per gas that the transaction is willing to pay in total
                            8. maxPriorityFeePerGas - Number|String|BN (optional, defaulted to 1
                                 Gwei) The maximum fee per gas to give miners to incentivize them
                                 to include the transaction (Priority fee)
                            9. accessList - List of hexstrings (optional) a list of addresses and
                                 storage keys that the transaction plans to access
                            10. data - String: (optional) Either a ABI byte string containing the data
                                 of the function call on a contract, or in the case of a contract-creation
                                 transaction the initialisation code.
                            11. nonce - Number: (optional) Integer of the nonce. This allows to
                                 overwrite your own pending transactions that use the same nonce.
                            12. chain - String: (optional) Defaults to mainnet.
                            13. hardfork - String: (optional) Defaults to london.

                        Returns
                            1. DATA, 32 Bytes - the transaction hash, or the zero hash if the
                                transaction is not yet available.

                        https://web3js.readthedocs.io/en/v1.5.2/web3-eth.html#sendtransaction


                        The App (First Client as part of the Computing Device) initiates a smart
                        contract call populating the data field of the above message.

                        From: https://eips.ethereum.org/EIPS/eip-721


                        /// @notice Change or reaffirm the approved address for an
                        NFT
                        /// @dev The zero address indicates there is no approved
                        address. Throws unless `msg.sender` is the current NFT
                        owner, or an authorized operator of the current owner.
                        /// @param _approved The new approved NFT controller
                        /// @param _tokenId The NFT to approve
                        function approve(address _approved, uint256 _tokenId)
                        external payable;



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    •   a commit input for          The commit input is the offer to sell the NFT indicated by an ‘approve’
        receiving a commit          function call.
        data from a commit
        transaction;
                                    From: https://eips.ethereum.org/EIPS/eip-721

                                    /// @notice Change or reaffirm the approved address for an
                                    NFT
                                    /// @dev The zero address indicates there is no approved
                                    address. Throws unless `msg.sender` is the current NFT
                                    owner, or an authorized operator of the current owner.
                                    /// @param _approved The new approved NFT controller
                                    /// @param _tokenId The NFT to approve
                                    function approve(address _approved, uint256 _tokenId)
                                    external payable;
    •   one or more output          The output data includes:
        data obtained from at           • The signed acceptance of the offered NFT based on the value
        least one of the first              description of the Metadata URI link.
        principal data or the
                                        • The disbursement amount to the seller and the originator based on
        second principal data,
        and a value data from               the royalty fee definition of the NFT.
        at least one of the first
        data source or the
        second data source;
        and
    •   the first cryptographic     The hardware device, hosting the API software/libraries (used by an App), such
        signature; and              as a computer or mobile phone. The App requires the user to authenticate
                                    themselves via a Wallet before using the App.




                                    Coinbase Wallet requesting confirmation to access the private key to authorise,
                                    calculate and sign the transaction.


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                                        eth_SignTransaction

                                        web3.eth.signTransaction(transactionObject, address [, callback])
                                        Signs a transaction.

                                        Parameters
                                        Object - The transaction data to sign. See web3.eth.sendTransaction() for more.
                                        String - Address to sign transaction with.
                                        Function - (optional) Optional callback, returns an error object as first
                                        parameter and the result as second.
                                        https://web3js.readthedocs.io/en/v1.5.2/web3-eth.html#signtransaction


   iv.     publish the inchoate         The published Inchoate Data Record is the offered NFT for sale on a
           data record to at least      marketplace. The following is an example from the Coinbase NFT
           one of the first client
                                        Marketplace.
           device or the second
           client device,




                                        https://nft.coinbase.com/nft/ethereum/0x0a62be5f3552c4252f50edcd75de3aed
                                        831f9599/439
 wherein the decentralized digital      Ether is used as the decentralised currency. The Ethereum network maintains a
 currency comprises a distributed       distributed ledger without the need for a trusted central authority.
 ledger that enables processing the
 transaction between the first client
 device and the second client device
                                        From the Ethereum yellow paper.
 without the need for a trusted         2.1. Value. In order to incentivise computation within the network, there needs
 central authority,                     to be an agreed method for transmitting value. To address this issue, Ethereum
                                        has an intrinsic currency, Ether, known also as ETH and sometimes referred to
                                        by the Old English ¯D.

                                        https://ethereum.github.io/yellowpaper/paper.pdf

 wherein the inchoate data record       The NFT approved for sale is accepted by the buyer with the safeTransfer
 is used by at least one of the first   function call to transfer ownership to the buyer.
 client device or the second client
 device to create a complete data

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 record and to create the            The App (Second Client as part of the Facilitator) creates a transaction message
 transaction by broadcasting the     to be sent to the Ethereum Network. RPC JSON API calls are defined to allow
 complete data record for            interaction with the Ethereum network. The App constructs the following
 transmitting and receiving among    message which is aligned with this standard.
 network participants in the
 computer network for recording in
 the distributed ledger,             eth_sendTransaction (EIP1559)
                                     Creates new message call transaction or a contract creation, if the data field
                                     contains code.

                                     Object - The transaction object
                                         1. from - String|Number: The address for the sending account. Uses the
                                              web3.eth.defaultAccount property, if not specified. Or an address or
                                              index of a local wallet in web3.eth.accounts.wallet.
                                         2. to - String: (optional) The destination address of the message, left
                                              undefined for a contract-creation transaction.
                                         3. value - Number|String|BN|BigNumber: (optional) The value
                                              transferred for the transaction in wei, also the endowment if it’s a
                                              contract-creation transaction.
                                         4. gas - Number: (optional, default: To-Be-Determined) The amount of
                                              gas to use for the transaction (unused gas is refunded).
                                         5. gasPrice - Number|String|BN|BigNumber: (optional) The price of
                                              gas for this transaction in wei, defaults to web3.eth.gasPrice.
                                         6. type - Number|String|BN|BigNumber: (optional) A positive unsigned
                                              8-bit number between 0 and 0x7f that represents the type of the
                                              transaction.
                                         7. maxFeePerGas - Number|String|BN: (optional, defaulted to (2 *
                                              block.baseFeePerGas) + maxPriorityFeePerGas) The maximum fee
                                              per gas that the transaction is willing to pay in total
                                         8. maxPriorityFeePerGas - Number|String|BN (optional, defaulted to 1
                                              Gwei) The maximum fee per gas to give miners to incentivize them
                                              to include the transaction (Priority fee)
                                         9. accessList - List of hexstrings (optional) a list of addresses and
                                              storage keys that the transaction plans to access
                                         10. data - String: (optional) Either a ABI byte string containing the data
                                              of the function call on a contract, or in the case of a contract-creation
                                              transaction the initialisation code.
                                         11. nonce - Number: (optional) Integer of the nonce. This allows to
                                              overwrite your own pending transactions that use the same nonce.
                                         12. chain - String: (optional) Defaults to mainnet.
                                         13. hardfork - String: (optional) Defaults to london.

                                     Returns
                                         2. DATA, 32 Bytes - the transaction hash, or the zero hash if the
                                             transaction is not yet available.

                                     https://web3js.readthedocs.io/en/v1.5.2/web3-eth.html#sendtransaction


                                     The App (Second Client as part of the Facilitator) initiates a smart contract call
                                     populating the data field of the above message.

                                     From: https://eips.ethereum.org/EIPS/eip-721




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                                         ERC-721 standardizes a safe transfer function safeTransferFrom
                                         (overloaded with and without a bytes parameter) and an unsafe function
                                         transferFrom. Transfers may be initiated by:
                                             •    The owner of an NFT
                                             •    The approved address of an NFT
                                             •    An authorized operator of the current owner of an NFT

 wherein at least one of the first       The Second Client requires the buyer to authenticate themselves via a Wallet
 client device or the second client      before using the App. The wallet private key is used to sign the transaction for
 device signs the inchoate data          the EVM smart contract call.
 record and saves a copy of the
 inchoate data record on at least
 one of the first client device or the
 second client device; and




                                         Coinbase Wallet requesting confirmation to access the private key to authorise
                                         and sign the transaction.

                                         Note that it is not mandatory for the inchoate data record to be saved by the
                                         device as it is optional as described in the Patent general description.

                                         [0095] 11. The second client creates the complete commit transaction record
                                         by signing the inchoate commit transaction record and optionally saves a copy
                                         in non-transitory memory, the complete commit transaction record comprising:

                                         [0111] 15. Optionally, the first client saves a copy of the complete commit
                                         transaction record in non-transitory memory.




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 wherein the at least one of the       The Second Client verifies that the Complete Data Record (Transaction) has
 computing device, the first client    been recorded by the network as a complete transaction record. In the below
 device, or the second client device   image this is shown in the ‘History’ tab with the transaction shown as
 verifies the recording of the         confirmed.
 complete data record in the
 distributed ledger by observing an
 external state.




                                       https://help.coinbase.com/en/coinbase/trading-and-funding/trade-on-dex/check-
                                       transaction-status

                                       When a transaction is sent, a transaction hash is received. This can be used to
                                       retrieve transaction details. Use the JSON RPC API command
                                       getTransactionByHash({transaction hash}) to retrieve the transaction details.
                                       The returned blockNumber should be non-null if the transaction has been
                                       mined and included into a block.

                                       Then call JSON RPC API eth_blockNumber to get the current block height.
                                       The number of confirmations is the eth_blockNumber result minus the
                                       eth_getTransaction blockNumber result.

                                       https://github.com/ethereum/wiki/wiki/JSON-RPC#eth_blocknumber
                                       https://github.com/ethereum/wiki/wiki/JSON-RPC#getTransactionByHash




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                      Claim Chart U.S. Patent No. 11,196,566 (the “’566 Patent”) Coinbase

 Claim 2                                   Coinbase Products & Services
                                           The transfer of a NFT (on the Ethereum network) from one party to
                                           another.
 The device of claim 1, where:             The Computing Device | Facilitator consists of:
 the computer processor is configured          • the Coinbase (Owned, managed or offered) Ethereum
 to obtain the one or more output data              Validator Full Nodes; and
 based on:                                     • the Coinbase (Owned, managed or offered) Ethereum
                                                    supporting Archive Nodes and Light Nodes; and
                                               • the Coinbase (Ethereum compatible) wallets;
                                           Where both the Coinbase Nodes and the Coinbase Ethereum compatible
                                           end user wallet device are networked to have direct or indirect
                                           communication with each other.

 the first principal data; and the value   The Validator node, as part of processing the received complete
 data from the first data source.          transaction, disburses the value by sending the NFT (with the metadata
                                           link) to the recipient.
                                           The Validator node, as part of processing the received complete
                                           transaction, disburses the royalty fee to the NFT originator address.

                                           Metadata URI Link
                                           /// @notice A distinct Uniform Resource Identifier (URI) for a given
                                           asset.
                                           /// @dev Throws if `_tokenId` is not a valid NFT. URIs are defined in
                                           RFC
                                           /// 3986. The URI may point to a JSON file that conforms to the
                                           "ERC721
                                           /// Metadata JSON Schema".
                                           function tokenURI(uint256 _tokenId) external view returns (string);
                                           https://eips.ethereum.org/EIPS/eip-721

                                           Royalty Info
                                           /// @notice Called with the sale price to determine how much royalty is
                                           owed and to /// whom.
                                           /// @param _tokenId - the NFT asset queried for royalty information
                                           /// @param _salePrice - the sale price of the NFT asset specified by
                                           _tokenId
                                           /// @return receiver - address of who should be sent the royalty payment
                                           /// @return royaltyAmount - the royalty payment amount for _salePrice
                                           function royaltyInfo(
                                               uint256 _tokenId,
                                               uint256 _salePrice
                                           ) external view returns (
                                               address receiver,
                                               uint256 royaltyAmount
                                           );
                                           https://eips.ethereum.org/EIPS/eip-2981




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                   Claim Chart U.S. Patent No. 11,196,566 (the “’566 Patent”) Coinbase

 Claim 7                      Coinbase Products & Services
 A system for                 The transfer of a NFT (on the Ethereum network) from one party to another.
 processing a
 transaction between a
 first client device and
 a second client device
 via a transfer
 mechanism the system
 comprising a
 computing device, the
 first client device, the
 second client device,
 and the transfer
 mechanism.

 7. a. the computing          The Computing Device | Facilitator consists of:
 device comprising:               • the Coinbase (Owned, managed or offered) Ethereum Validator Full Nodes; and
     i.     a first
            memory                • the Coinbase (Owned, managed or offered) Ethereum supporting Archive Nodes
            comprising                 and Light Nodes; and
            for storing a         • the Coinbase (Ethereum compatible) wallets;
            first             Where both the Coinbase Nodes and the Coinbase Ethereum compatible end user wallet
            asymmetric        device are networked to have direct or indirect communication with each other.
            key pair, the
            first
            asymmetric        Client Device
            key pair          The First Client is the end user device that accepts an offer for an NFT.
            comprising a      The Second Client is the end user device that authorises an NFT to be offered for sale.
            first private
            key and a first   Three (3) Client instances have been identified that represent various implementations that
            public key;
                              exist.
                                   1. Client is a device running an App (Coinbase Wallet) that uses a Javascript
                                       Ethereum Provider API (as per EIP-1193) such as web3.js or ethers.js. This device
                                       will also use a key storage wallet with EIP-191 or EIP-712 signing support (such
                                       as Metamask/Coinbase Wallet) to send an NFT transactions. The use of an EIP-
                                       1193 based Ethereum Provider API or EIP-191/EIP-712 signing support means the
                                       Client is considered to be part of the Ethereum Network.
                                       http://eips/ethereum.org/EIPS/eip-191
                                       http://eips/ethereum.org/EIPS/eip-712
                                       http://eips/ethereum.org/EIPS/eip-1193

                                  2.   The Computing Device and the Client are the same device where the Client is a
                                       Client Browser or Command Line Interface on a Coinbase Ethereum Node used to
                                       create, sign and submit NFT transactions to the Coinbase Ethereum Node for
                                       processing.

                                  3.   Client is a device running an App (Coinbase Wallet) that uses a Javascript
                                       Ethereum Provider API (as per EIP-1193) such as web3.js or ethers.js.. This
                                       device will also use a key storage wallet. This device uses private key management
                                       in order to sign transactions

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                         Where the Client running the App (Coinbase Wallet) software, as part of the Facilitator, need
                         a computer hardware/software combination to run, namely:
                             • Memory (RAM), used in the computing device (such as a computer or mobile
                                 phone).
                             • Transaction record sector (stores transactions that haven't been submitted to the
                                 blockchain yet) kept via the crypto software wallets

                         Where the Client running the App (Coinbase Wallet) software, contains:
                            • a first key pair sector which is generated and stored in the wallet software
                            • The asymmetric key pair generated and/or stored consists of a first private key and
                                 a first public key – all found and manipulated via the wallet software.
                            • The wallet software connects via the public key or the key pair, and authorizes
                                 (signs) the transaction with the private key of the key pair.

                         Where the Client interacts with the Eth Client Browser or Command Line Interface to
                         transaction creation, contains:
                              • a first key pair sector which is generated and stored on the device
                              • The asymmetric key pair stored consists of a first private key and a first public
                                  key.

                         Where the Client interacts with App (Coinbase Wallet) with Private key management in
                         order to sign transactions, contains:
                             • a first key pair sector which is stored in the key management vault/software
                             • The asymmetric key pair generated and/or stored consists of a first private key and
                                   a first public key – all found and manipulated via the key management
                                   vault/software.
                             • The key management vault/software connects via the public key or the key pair,
                                   and authorizes (signs) the transaction with the private key of the key pair.
   ii.   a first          The Client device requires a network interface in order to connect a wallet to the
         network         marketplace to offer the NFT for sale.
         interface for       1. Click on the ‘Sign In’ button top RHS.
         receiving
         terms, the
         terms
         comprising:




                             2.   Selecting ‘Coinbase Wallet’ prompts the user to connect to the website.




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                      3.   Attempting to connect without a network interface (as shown with no Wifi
                           connected).




                      4.   The user is not connected to the NFT marketplace and is instead requested to
                           connect wallet.




                      5.   When connected to a network the user creates a username and password that is
                           associated from the wallet signature.

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                               6.   The user is logged in as indicated at the top RHS icon.




    A.   at least one of   First principle data
         a first
         principal data    The first principle data is the value represented/encapsulated by the NFT. Examples include
         or a second
         principal
                           but are not limited to art, gifs, videos, files, documents, deeds representing a real world asset,
         data;             agreements.

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                           https://nft.coinbase.com/nft/ethereum/0x0a62be5f3552c4252f50edcd75de3aed831f9599/439

                           Second principle data

                           The seller will define a minimum or market price that they are willing to sell the NFT for.




                           https://nft.coinbase.com/nft/ethereum/0x0a62be5f3552c4252f50edcd75de3aed831f9599/439
    B.   a reference to    First data source
         at least one of
         a first data      The NFT smart contract which contains a metadata URI link describes the value.

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       source or a
       second data   Metadata URI Link
       source; and   /// @notice A distinct Uniform Resource Identifier (URI) for a
                     given asset.
                     /// @dev Throws if `_tokenId` is not a valid NFT. URIs are
                     defined in RFC
                     /// 3986. The URI may point to a JSON file that conforms to
                     the "ERC721
                     /// Metadata JSON Schema".
                     function tokenURI(uint256 _tokenId) external view returns
                     (string);
                     https://eips.ethereum.org/EIPS/eip-721

                     Second data source

                     The NFT smart contract which contains a royalty payment fee as per ERC2981 for
                     consideration of the disbursement function.

                     Royalty Info
                     /// @notice Called with the sale price to determine how much
                     royalty is owed and to /// whom.
                     /// @param _tokenId - the NFT asset queried for royalty
                     information
                     /// @param _salePrice - the sale price of the NFT asset
                     specified by _tokenId
                     /// @return receiver - address of who should be sent the
                     royalty payment
                     /// @return royaltyAmount - the royalty payment amount for
                     _salePrice
                     function royaltyInfo(
                            uint256 _tokenId,
                            uint256 _salePrice
                     ) external view returns (
                            address receiver,
                            uint256 royaltyAmount
                     );
                     https://eips.ethereum.org/EIPS/eip-2981




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                         https://nft.coinbase.com/nft/ethereum/0x0a62be5f3552c4252f50edcd75de3aed831f9599/439
                         Indicates that 10% of sale goes to the Creator.
    C.   an expiration   The approval by the NFT owner to sell or allow a transfer of ownership of the NFT is
         timestamp,      implied to be infinite as no explicit deadline is configurable.

                         The approve function as defined by the EIP-721 is as follows.

                         /// @notice Change or reaffirm the approved address for an NFT
                         /// @dev The zero address indicates there is no approved address.
                         Throws unless `msg.sender` is the current NFT owner, or an authorized
                         operator of the current owner.
                         /// @param _approved The new approved NFT controller
                         /// @param _tokenId The NFT to approve
                         function approve(address _approved, uint256 _tokenId) external
                         payable;




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                      https://nft.coinbase.com/nft/ethereum/0x0a62be5f3552c4252f50edcd75de3aed831f9599/439

                      Shows an expiration with the Listing ending Sep 17 at 11:07am.

                      Note that the expiration period can be represented through an event which in this case can be
                      a subsequent all to the approve function to change the approved address back to the NFT
                      owner. The description of the patent allows for the terms to define a point in time ‘on or after
                      the expiration timestamp or at a time or upon an event as defined by the terms…’. In this
                      instance the event is the reception of the transaction for processing.

                      Patent references:
                      [0123] 22. On or after the expiration timestamp or at a time or upon an event as defined by
                      the terms, and before the lock time of the complete refund transaction record, …

                      [0186] 21. On or after the expiration timestamp, or at a time or upon an event as defined by
                      the terms, and before the lock time of the complete refund transaction record, ...

                      Also note that there is a draft EIP-4494 which seeks to change this infinite time to a specified
                      deadline expiration. This demonstrates that the ‘approve’ function does have a time
                      component albeit undefined and implied.

                      https://eips.ethereum.org/EIPS/eip-4494

                      /// @notice Function to approve by way of owner signature
                      /// @param spender the address to approve
                      /// @param tokenId the index of the NFT to approve the spender on
                      /// @param deadline a timestamp expiry for the permit
                      /// @param sig a traditional or EIP-2098 signature
                        function permit(address spender, uint256 tokenId, uint256 deadline,
                      bytes memory sig) external;
   iii.   a first     The hardware device, hosting the API software/libraries (used by an App), such as a
          computer    computer or mobile phone.
          processor

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         coupled to the
         first memory
         and the first
         network
         interface, the
         first computer
         processor
         configured to:
    A.   read the first   The hardware device, hosting the API software/libraries (used by an App), such as a
         private key      computer or mobile phone. The App requires the user to authenticate themselves via the
         from the first   Wallet private key either before using the App or for sign individual transactions. The private
         memory           key is encrypted on the device and accessed for reading (and subsequently used to calculate a
                          transaction signature) by the app/wallet from the passcode/protection mechanism of the
                          app/wallet.




                          Coinbase Wallet requesting confirmation to access (read) the private key to authorise and
                          sign the transaction.

    B.   compute a        The hardware device, hosting the API software/libraries (used by an App), such as a
         first            computer or mobile phone. The App requires the user to authenticate themselves via a Wallet
         cryptographic    before using the App.
         signature
         from the first
         private key;



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                         Coinbase Wallet requesting confirmation to access (read) the private key to authorise,
                         calculate signature and sign the transaction.

                         eth_SignTransaction

                         web3.eth.signTransaction(transactionObject, address [, callback])
                         Signs a transaction.

                         Parameters
                         Object - The transaction data to sign. See web3.eth.sendTransaction() for more.
                         String - Address to sign transaction with.
                         Function - (optional) Optional callback, returns an error object as first parameter and the
                         result as second.
                         https://web3js.readthedocs.io/en/v1.5.2/web3-eth.html#signtransaction
    C.   create an          While the Computing Device and the Second Client device are the same device, the
         inchoate data      Inchoate Transaction is created for the NFT seller to approve an account (typically a smart
         record             contract account) to transfer ownership of the NFT when the terms are met.
         comprising:
                           The App (Coinbase Wallet) creates a transaction message to be sent to the Ethereum
                           Network. RPC JSON API calls are defined to allow interaction with the Ethereum
                           network. The App constructs the following message which is aligned with this standard.

                           eth_sendTransaction (EIP1559)
                           Creates new message call transaction or a contract creation, if the data field contains code.

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                         Object - The transaction object
                             1. from - String|Number: The address for the sending account. Uses the
                                  web3.eth.defaultAccount property, if not specified. Or an address or index of a
                                  local wallet in web3.eth.accounts.wallet.
                             2. to - String: (optional) The destination address of the message, left undefined for
                                  a contract-creation transaction.
                             3. value - Number|String|BN|BigNumber: (optional) The value transferred for the
                                  transaction in wei, also the endowment if it’s a contract-creation transaction.
                             4. gas - Number: (optional, default: To-Be-Determined) The amount of gas to use
                                  for the transaction (unused gas is refunded).
                             5. gasPrice - Number|String|BN|BigNumber: (optional) The price of gas for this
                                  transaction in wei, defaults to web3.eth.gasPrice.
                             6. type - Number|String|BN|BigNumber: (optional) A positive unsigned 8-bit
                                  number between 0 and 0x7f that represents the type of the transaction.
                             7. maxFeePerGas - Number|String|BN: (optional, defaulted to (2 *
                                  block.baseFeePerGas) + maxPriorityFeePerGas) The maximum fee per gas that
                                  the transaction is willing to pay in total
                             8. maxPriorityFeePerGas - Number|String|BN (optional, defaulted to 1 Gwei) The
                                  maximum fee per gas to give miners to incentivize them to include the
                                  transaction (Priority fee)
                             9. accessList - List of hexstrings (optional) a list of addresses and storage keys
                                  that the transaction plans to access
                             10. data - String: (optional) Either a ABI byte string containing the data of the
                                  function call on a contract, or in the case of a contract-creation transaction the
                                  initialisation code.
                             11. nonce - Number: (optional) Integer of the nonce. This allows to overwrite your
                                  own pending transactions that use the same nonce.
                             12. chain - String: (optional) Defaults to mainnet.
                             13. hardfork - String: (optional) Defaults to london.

                         Returns
                             3. DATA, 32 Bytes - the transaction hash, or the zero hash if the transaction is not
                                 yet available.

                         https://web3js.readthedocs.io/en/v1.5.2/web3-eth.html#sendtransaction


                         The App (Coinbase Wallet) initiates a smart contract call populating the data field of the
                         above message.

                         From: https://eips.ethereum.org/EIPS/eip-721


                         /// @notice Change or reaffirm the approved address for an NFT
                         /// @dev The zero address indicates there is no approved address.
                         Throws unless `msg.sender` is the current NFT owner, or an
                         authorized operator of the current owner.
                         /// @param _approved The new approved NFT controller
                         /// @param _tokenId The NFT to approve
                         function approve(address _approved, uint256 _tokenId) external
                         payable;
    I.   a commit      The commit input is the offer to sell the NFT indicated by an ‘approve’ function call.
         input for
         receiving a
                       From: https://eips.ethereum.org/EIPS/eip-721
         commit data


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          from a
          commit            /// @notice Change or reaffirm the approved address for an NFT
          transaction;      /// @dev The zero address indicates there is no approved address.
                            Throws unless `msg.sender` is the current NFT owner, or an authorized
                            operator of the current owner.
                            /// @param _approved The new approved NFT controller
                            /// @param _tokenId The NFT to approve
                            function approve(address _approved, uint256 _tokenId) external
                            payable;
    II.   one or more       The output data includes:
          outputs               • The signed acceptance of the offered NFT based on the value description of the
          obtained from             Metadata URI link.
          at least one of
          the first
                                • The disbursement amount to the seller and the originator based on the royalty fee
          principal data            definition of the NFT.
          or the second
          principal
          data, and a
          value data
          from at least
          one of the
          first data
          source or the
          second data
          source; and;
   III.   The first         The hardware device, hosting the API software/libraries (used by an App), such as a
          cryptographic     computer or mobile phone. The App requires the user to authenticate themselves via a Wallet
          signature;        before using the App.
          and




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                             Coinbase Wallet requesting confirmation to access the private key to authorise and sign the
                             transaction.

                             eth_SignTransaction

                             web3.eth.signTransaction(transactionObject, address [, callback])
                             Signs a transaction.

                             Parameters
                             Object - The transaction data to sign. See web3.eth.sendTransaction() for more.
                             String - Address to sign transaction with.
                             Function - (optional) Optional callback, returns an error object as first parameter and the
                             result as second.
                             https://web3js.readthedocs.io/en/v1.5.2/web3-eth.html#signtransaction


     D.   publish the        The published Inchoate Data Record is the offered NFT for sale on a marketplace. The
          inchoate data      following is an example from the Coinbase NFT Marketplace.
          record to at
          least one of
          the first client
          device or the
          second client
          device;;


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                             https://nft.coinbase.com/nft/ethereum/0x0a62be5f3552c4252f50edcd75de3aed831f9599/439

  7. b. the first client     The Computing Device | Facilitator consists of:
  comprises:                     • the Coinbase (Owned, managed or offered) Ethereum Validator Full Nodes; and
      i.     a second
             memory for
                                 • the Coinbase (Owned, managed or offered) Ethereum supporting Archive Nodes
             storing a                and Light Nodes; and
             second              • the Coinbase (Ethereum compatible) wallets;
             asymmetric      Where both the Coinbase Nodes and the Coinbase Ethereum compatible end user wallet
             key pair, the   device are networked to have direct or indirect communication with each other.
             second
             asymmetric
             key pair        Client Device
             comprising a    The First Client is the end user device that accepts an offer for an NFT.
             second          The Second Client is the end user device that authorises an NFT to be offered for sale.
             private key
             and a second    Three (3) Client instances have been identified that represent various implementations that
             public key.
                             exist.
                                  1. Client is a device running an App (Coinbase Wallet) that uses a Javascript
                                      Ethereum Provider API (as per EIP-1193) such as web3.js or ethers.js. This device
                                      will also use a key storage wallet with EIP-191 or EIP-712 signing support (such
                                      as Metamask/Coinbase Wallet) to send an NFT transactions. The use of an EIP-
                                      1193 based Ethereum Provider API or EIP-191/EIP-712 signing support means the
                                      Client is considered to be part of the Ethereum Network.
                                      http://eips/ethereum.org/EIPS/eip-191
                                      http://eips/ethereum.org/EIPS/eip-712
                                      http://eips/ethereum.org/EIPS/eip-1193

                                 2.   The Computing Device and the Client are the same device where the Client is a
                                      Client Browser or Command Line Interface on a Coinbase Ethereum Node used to
                                      create, sign and submit NFT transactions to the Coinbase Ethereum Node for
                                      processing.


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                               3.   Client is a device running an App (Coinbase Wallet) that uses a Javascript
                                    Ethereum Provider API (as per EIP-1193) such as web3.js or ethers.js.. This
                                    device will also use a key storage wallet. This device uses private key management
                                    in order to sign transactions

                           Where the Client running the App (Coinbase Wallet) software, as part of the Facilitator, need
                           a computer hardware/software combination to run, namely:
                               • Memory (RAM), used in the computing device (such as a computer or mobile
                                   phone).
                               • Transaction record sector (stores transactions that haven't been submitted to the
                                   blockchain yet) kept via the crypto software wallets

                           Where the Client running the App (Coinbase Wallet) software, contains:
                              • a first key pair sector which is generated and stored in the wallet software
                              • The asymmetric key pair generated and/or stored consists of a first private key and
                                   a first public key – all found and manipulated via the wallet software.
                              • The wallet software connects via the public key or the key pair, and authorizes
                                   (signs) the transaction with the private key of the key pair.

                           Where the Client interacts with the Eth Client Browser or Command Line Interface to
                           transaction creation, contains:
                                • a first key pair sector which is generated and stored on the device
                                • The asymmetric key pair stored consists of a first private key and a first public
                                    key.

                           Where the Client interacts with App (Coinbase Wallet) with Private key management in
                           order to sign transactions, contains:
                                • a first key pair sector which is stored in the key management vault/software
                                • The asymmetric key pair generated and/or stored consists of a first private key and
                                     a first public key – all found and manipulated via the key management
                                     vault/software.
                                • The key management vault/software connects via the public key or the key pair,
                                     and authorizes (signs) the transaction with the private key of the key pair.
    ii.   a second         The Client device requires a network interface in order to connect a wallet to the marketplace
          network          to offer the NFT for sale.
          interface; and        1. Click on the ‘Sign In’ button top RHS.




                               2.   Selecting ‘Coinbase Wallet’ prompts the user to connect to the website.

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                      3.   Attempting to connect without a network interface (as shown with no Wifi
                           connected).




                      4.    The user is not connected to the NFT marketplace and is instead requested to
                           connect wallet.




                      5.    When connected to a network the user creates a username and password that is
                           associated from the wallet signature.




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                               6.   The user is logged in as indicated at the top RHS icon.




   iii.   a second         The hardware device, hosting the API software/libraries (used by an App), such as a
          computer         computer or mobile phone.
          processor
          coupled to the
          second
          memory and

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          the second
          network
          interface, the
          second
          computer
          processor
          configured to:
     A.   read the         The hardware device, hosting the API software/libraries (used by an App), such as a
          second           computer or mobile phone. The App requires the user to authenticate themselves via the
          private key      Wallet private key either before using the App or for sign individual transactions. The private
          from the         key is encrypted on the device and accessed for reading (and subsequently used to calculate a
          second
          memory;
                           transaction signature) by the app/wallet from the passcode/protection mechanism of the
                           app/wallet.




                            Coinbase Wallet requesting confirmation to access (read) the private key to authorise and
                           sign the transaction.

     B.   read the         The published Inchoate Data Record is the offered NFT for sale on a marketplace. The
          inchoate data    following is an example from the Coinbase NFT Marketplace.
          record




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                          https://nft.coinbase.com/nft/ethereum/0x0a62be5f3552c4252f50edcd75de3aed831f9599/439

     C.   compute a       The hardware device, hosting the API software/libraries (used by an App), such as a
          second          computer or mobile phone. The App requires the user to authenticate themselves via a Wallet
          cryptographic   before using the App.
          signature
          from the
          second
          private key;




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                              Coinbase Wallet requesting confirmation to access (read) the private key to authorise,
                              calculate signature and sign the transaction.

                              eth_SignTransaction

                              web3.eth.signTransaction(transactionObject, address [, callback])
                              Signs a transaction.

                              Parameters
                              Object - The transaction data to sign. See web3.eth.sendTransaction() for more.
                              String - Address to sign transaction with.
                              Function - (optional) Optional callback, returns an error object as first parameter and the
                              result as second.
                              https://web3js.readthedocs.io/en/v1.5.2/web3-eth.html#signtransaction
         D.   create a        The App (Coinbase Wallet) initiates a smart contract call populating the data field of the
              complete data   above message.
              record
              comprising:
    I.        the commit      From: https://eips.ethereum.org/EIPS/eip-721
              input;
                              ERC-721 standardizes a safe transfer function safeTransferFrom (overloaded with
                              and without a bytes parameter) and an unsafe function transferFrom. Transfers may
                              be initiated by:
                                   • The owner of an NFT

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                              • The approved address of an NFT
                              • An authorized operator of the current owner of an NFT
    II.   the output      The output data includes:
          data;               • The signed acceptance of the offered NFT based on the value description of the
                                  Metadata URI link.
                              • The disbursement amount to the seller and the originator based on the royalty fee
                                  definition of the NFT.

   III.   the first       The seller has signed the ‘approve’ smart contract function call to authorise transfer of
          cryptographic   ownership when the terms are met.
          signature,
          and
   IV.    the second      The buyer signs the transaction.
          cryptographic
          signature,      The hardware device, hosting the API software/libraries (used by an App), such as a
                          computer or mobile phone. The App requires the user to authenticate themselves via a Wallet
                          before using the App.




                          Coinbase Wallet requesting confirmation to access (read) the private key to authorise,
                          calculate signature and sign the transaction.

                          eth_SignTransaction

                          web3.eth.signTransaction(transactionObject, address [, callback])

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                           Signs a transaction.

                           Parameters
                           Object - The transaction data to sign. See web3.eth.sendTransaction() for more.
                           String - Address to sign transaction with.
                           Function - (optional) Optional callback, returns an error object as first parameter and the
                           result as second.
                           https://web3js.readthedocs.io/en/v1.5.2/web3-eth.html#signtransaction


     E.   create a         The NFT approved for sale is accepted by the buyer with the safeTransfer function call to
          transaction by   transfer ownership to the buyer.
          submitting the
          complete data
          record to the    The App (Coinbase Wallet) creates a transaction message to be sent to the Ethereum
          transfer         Network. RPC JSON API calls are defined to allow interaction with the Ethereum network.
          mechanism;       The App constructs the following message which is aligned with this standard.

                           eth_sendTransaction (EIP1559)
                           Creates new message call transaction or a contract creation, if the data field contains code.

                           Object - The transaction object
                               1. from - String|Number: The address for the sending account. Uses the
                                    web3.eth.defaultAccount property, if not specified. Or an address or index of a
                                    local wallet in web3.eth.accounts.wallet.
                               2. to - String: (optional) The destination address of the message, left undefined for a
                                    contract-creation transaction.
                               3. value - Number|String|BN|BigNumber: (optional) The value transferred for the
                                    transaction in wei, also the endowment if it’s a contract-creation transaction.
                               4. gas - Number: (optional, default: To-Be-Determined) The amount of gas to use for
                                    the transaction (unused gas is refunded).
                               5. gasPrice - Number|String|BN|BigNumber: (optional) The price of gas for this
                                    transaction in wei, defaults to web3.eth.gasPrice.
                               6. type - Number|String|BN|BigNumber: (optional) A positive unsigned 8-bit number
                                    between 0 and 0x7f that represents the type of the transaction.
                               7. maxFeePerGas - Number|String|BN: (optional, defaulted to (2 *
                                    block.baseFeePerGas) + maxPriorityFeePerGas) The maximum fee per gas that
                                    the transaction is willing to pay in total
                               8. maxPriorityFeePerGas - Number|String|BN (optional, defaulted to 1 Gwei) The
                                    maximum fee per gas to give miners to incentivize them to include the transaction
                                    (Priority fee)
                               9. accessList - List of hexstrings (optional) a list of addresses and storage keys that
                                    the transaction plans to access
                               10. data - String: (optional) Either a ABI byte string containing the data of the function
                                    call on a contract, or in the case of a contract-creation transaction the initialisation
                                    code.
                               11. nonce - Number: (optional) Integer of the nonce. This allows to overwrite your
                                    own pending transactions that use the same nonce.
                               12. chain - String: (optional) Defaults to mainnet.
                               13. hardfork - String: (optional) Defaults to london.

                           Returns
                               4. DATA, 32 Bytes - the transaction hash, or the zero hash if the transaction is not
                                   yet available.

                           https://web3js.readthedocs.io/en/v1.5.2/web3-eth.html#sendtransaction

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                             The App (Coinbase Wallet) initiates a smart contract call populating the data field of the
                             above message.

                             From: https://eips.ethereum.org/EIPS/eip-721

                             ERC-721 standardizes a safe transfer function safeTransferFrom (overloaded with
                             and without a bytes parameter) and an unsafe function transferFrom. Transfers may
                             be initiated by:
                                  • The owner of an NFT
                                  • The approved address of an NFT
                                  • An authorized operator of the current owner of an NFT

  7. c. the second client    The Computing Device | Facilitator consists of:
  comprises:                     • the Coinbase (Owned, managed or offered) Ethereum Validator Full Nodes; and
      i.     a third
             memory for          • the Coinbase (Owned, managed or offered) Ethereum supporting Archive Nodes
             storing a                and Light Nodes; and
             third               • the Coinbase (Ethereum compatible) wallets;
             asymmetric      Where both the Coinbase Nodes and the Coinbase Ethereum compatible end user wallet
             key pair, the   device are networked to have direct or indirect communication with each other.
             third
             asymmetric
             key pair        Client Device
             comprising a    The First Client is the end user device that accepts an offer for an NFT.
             third private   The Second Client is the end user device that authorises an NFT to be offered for sale.
             key and a
             third public    Three (3) Client instances have been identified that represent various implementations that
             key;
                             exist.
                                  1. Client is a device running an App (Coinbase Wallet) that uses a Javascript
                                      Ethereum Provider API (as per EIP-1193) such as web3.js or ethers.js. This device
                                      will also use a key storage wallet with EIP-191 or EIP-712 signing support (such
                                      as Metamask/Coinbase Wallet) to send an NFT transactions. The use of an EIP-
                                      1193 based Ethereum Provider API or EIP-191/EIP-712 signing support means the
                                      Client is considered to be part of the Ethereum Network.
                                      http://eips/ethereum.org/EIPS/eip-191
                                      http://eips/ethereum.org/EIPS/eip-712
                                      http://eips/ethereum.org/EIPS/eip-1193

                                 2.   The Computing Device and the Client are the same device where the Client is a
                                      Client Browser or Command Line Interface on a Coinbase Ethereum Node used to
                                      create, sign and submit NFT transactions to the Coinbase Ethereum Node for
                                      processing.

                                 3.   Client is a device running an App (Coinbase Wallet) that uses a Javascript
                                      Ethereum Provider API (as per EIP-1193) such as web3.js or ethers.js.. This
                                      device will also use a key storage wallet. This device uses private key management
                                      in order to sign transactions

                             Where the Client running the App (Coinbase Wallet) software, as part of the Facilitator, need
                             a computer hardware/software combination to run, namely:
                                 • Memory (RAM), used in the computing device (such as a computer or mobile
                                     phone).
                                 • Transaction record sector (stores transactions that haven't been submitted to the
                                     blockchain yet) kept via the crypto software wallets

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                           Where the Client running the App (Coinbase Wallet) software, contains:
                              • a first key pair sector which is generated and stored in the wallet software
                              • The asymmetric key pair generated and/or stored consists of a first private key and
                                   a first public key – all found and manipulated via the wallet software.
                              • The wallet software connects via the public key or the key pair, and authorizes
                                   (signs) the transaction with the private key of the key pair.

                           Where the Client interacts with the Eth Client Browser or Command Line Interface to
                           transaction creation, contains:
                                • a first key pair sector which is generated and stored on the device
                                • The asymmetric key pair stored consists of a first private key and a first public
                                    key.

                           Where the Client interacts with App (Coinbase Wallet) with Private key management in
                           order to sign transactions, contains:
                               • a first key pair sector which is stored in the key management vault/software
                               • The asymmetric key pair generated and/or stored consists of a first private key and
                                     a first public key – all found and manipulated via the key management
                                     vault/software.
                               • The key management vault/software connects via the public key or the key pair,
                                     and authorizes (signs) the transaction with the private key of the key pair.
    ii.   a third           The Client device requires a network interface in order to connect a wallet to the
          network          marketplace to offer the NFT for sale.
          interface; and       1. Click on the ‘Sign In’ button top RHS.




                               2.   Selecting ‘Coinbase Wallet’ prompts the user to connect to the website.




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                      3.   Attempting to connect without a network interface (as shown with no Wifi
                           connected).




                      4.    The user is not connected to the NFT marketplace and is instead requested to
                           connect wallet.




                      5.   When connected to a network the user creates a username and password that is
                           associated from the wallet signature.


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                               6.   The user is logged in as indicated at the top RHS icon.




   iii.   a third          The hardware device using the API software/libraries, such as a computer or mobile phone.
          computer
          processor
          coupled to the
          third memory
          and the third

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              network
              interface, the
              third
              computer
              processor
              configured to
              read the third
              private key
              from the third
              memory; and
  wherein the at least one     The First Client requires the buyer to authenticate themselves via a Wallet before using the
  of the first client device   App. The wallet private key is used to sign the transaction for the EVM smart contract call.
  or the second client
  device signs the inchoate
  data record and saves a
  copy of the inchoate data
  record on at least one of
  the first client device or
  the second client device.




                               Coinbase Wallet requesting confirmation to access the private key to authorise and sign the
                               transaction.

                               Note that it is not mandatory for the inchoate data record to be saved by the device as it is
                               optional as described in the Patent general description.

                               [0095] 11. The second client creates the complete commit transaction record by signing the
                               inchoate commit transaction record and optionally saves a copy in non-transitory memory,
                               the complete commit transaction record comprising:

                               [0111] 15. Optionally, the first client saves a copy of the complete commit transaction record
                               in non-transitory memory.

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  wherein the transfer          Ether is used as the decentralised currency. The Ethereum network maintains a distributed
  mechanism comprising a        ledger without the need for a trusted central authority.
  decentralized digital
  currency that comprises
  a distributed ledger that
                                From the Ethereum yellow paper.
  enables processing the        2.1. Value. In order to incentivise computation within the network, there needs to be an
  transaction between the       agreed method for transmitting value. To address this issue, Ethereum has an intrinsic
  first client device and the   currency, Ether, known also as ETH and sometimes referred to by the Old English ¯D.
  second client device
  without the need of a         https://ethereum.github.io/yellowpaper/paper.pdf
  trusted central authority,
  wherein the transaction       The NFT approved for sale is accepted by the buyer with the safeTransfer function call to
  is created by                 transfer ownership to the buyer.
  broadcasting the
  complete data record for
  transmitting and              The App (Coinbase Wallet) creates a transaction message to be sent to the Ethereum
  receiving among network       Network. RPC JSON API calls are defined to allow interaction with the Ethereum network.
  participants in the           The App constructs the following message which is aligned with this standard.
  computer network for
  recording in the
                                eth_sendTransaction (EIP1559)
  distributed ledger, and
                                Creates new message call transaction or a contract creation, if the data field contains code.

                                Object - The transaction object
                                    1. from - String|Number: The address for the sending account. Uses the
                                         web3.eth.defaultAccount property, if not specified. Or an address or index of a
                                         local wallet in web3.eth.accounts.wallet.
                                    2. to - String: (optional) The destination address of the message, left undefined for a
                                         contract-creation transaction.
                                    3. value - Number|String|BN|BigNumber: (optional) The value transferred for the
                                         transaction in wei, also the endowment if it’s a contract-creation transaction.
                                    4. gas - Number: (optional, default: To-Be-Determined) The amount of gas to use for
                                         the transaction (unused gas is refunded).
                                    5. gasPrice - Number|String|BN|BigNumber: (optional) The price of gas for this
                                         transaction in wei, defaults to web3.eth.gasPrice.
                                    6. type - Number|String|BN|BigNumber: (optional) A positive unsigned 8-bit number
                                         between 0 and 0x7f that represents the type of the transaction.
                                    7. maxFeePerGas - Number|String|BN: (optional, defaulted to (2 *
                                         block.baseFeePerGas) + maxPriorityFeePerGas) The maximum fee per gas that
                                         the transaction is willing to pay in total
                                    8. maxPriorityFeePerGas - Number|String|BN (optional, defaulted to 1 Gwei) The
                                         maximum fee per gas to give miners to incentivize them to include the transaction
                                         (Priority fee)
                                    9. accessList - List of hexstrings (optional) a list of addresses and storage keys that
                                         the transaction plans to access
                                    10. data - String: (optional) Either a ABI byte string containing the data of the function
                                         call on a contract, or in the case of a contract-creation transaction the initialisation
                                         code.
                                    11. nonce - Number: (optional) Integer of the nonce. This allows to overwrite your
                                         own pending transactions that use the same nonce.
                                    12. chain - String: (optional) Defaults to mainnet.
                                    13. hardfork - String: (optional) Defaults to london.

                                Returns
                                    5. DATA, 32 Bytes - the transaction hash, or the zero hash if the transaction is not
                                        yet available.


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                                https://web3js.readthedocs.io/en/v1.5.2/web3-eth.html#sendtransaction

                                 The App (Second Client as part of the Facilitator) initiates a smart contract call populating
                                the data field of the above message.

                                From: https://eips.ethereum.org/EIPS/eip-721

                                ERC-721 standardizes a safe transfer function safeTransferFrom (overloaded with
                                and without a bytes parameter) and an unsafe function transferFrom. Transfers may
                                be initiated by:
                                     • The owner of an NFT
                                     • The approved address of an NFT
                                     • An authorized operator of the current owner of an NFT

  wherein at least one of       The First Client verifies that the Complete Data Record (Transaction) has been recorded by
  the computer device, the      the network as a complete transaction record. In the below image this is shown in the
  first client device, or the   ‘History’ tab with the transaction shown as confirmed.
  second client device
  verifies the recording of
  the complete data record
  in the distributed ledger
  by observing an external
  state




                                https://help.coinbase.com/en/coinbase/trading-and-funding/trade-on-dex/check-transaction-
                                status

                                When a transaction is sent, a transaction hash is received. This can be used to retrieve
                                transaction details. Use the JSON RPC API command getTransactionByHash({transaction
                                hash}) to retrieve the transaction details. The returned blockNumber should be non-null if the
                                transaction has been mined and included into a block.

                                Then call JSON RPC API eth_blockNumber to get the current block height. The number of
                                confirmations is the eth_blockNumber result minus the eth_getTransaction blockNumber
                                result.

                                https://github.com/ethereum/wiki/wiki/JSON-RPC#eth_blocknumber
                                https://github.com/ethereum/wiki/wiki/JSON-RPC#getTransactionByHash

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